                                        Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 1 of 65


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                                    9
                                        Attorneys for Defendants
                                   10   THE PRUDENTIAL INSURANCE COMPANY
                                        OF AMERICA, PRUCO LIFE INSURANCE COMPANY,
                                   11   and PRUCO LIFE INSURANCE COMPANY OF NEW JERSEY
                                   12                                UNITED STATES DISTRICT COURT
1999 HARRISON STREET, SUITE 1300




                                   13                                EASTERN DISTRICT OF CALIFORNIA
      OAKLAND, CA 94612
       DENTONS US LLP


         415 882 5000




                                   14                                       FRESNO DIVISION

                                   15

                                   16   VALERIE NEPINSKY,                             Case No.

                                   17                   Plaintiff,                    DECLARATION OF ANDREW S.
                                                                                      AZARMI IN SUPPORT OF
                                   18         vs.                                     DEFENDANTS’ NOTICE OF
                                                                                      REMOVAL OF CIVIL ACTION
                                   19
                                        THE PRUDENTIAL INSURANCE
                                   20   COMPANY OF AMERICA; PRUCO LIFE                Action Filed: September 27, 2023
                                        INSURANCE COMPANY; PRUCO LIFE                 Trial Date:   None Set
                                   21   INSURANCE COMPANY OF NEW
                                        JERSEY; and DOES 1 through 20, inclusive,
                                   22
                                                        Defendants.
                                   23

                                   24

                                   25

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                                         CASE NO.                                         DECLARATION OF ANDREW S. AZARMI
                                        Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 2 of 65


                                    1          I, Andrew S. Azarmi, declare:
                                    2          1.      I am an attorney with the law firm Dentons US LLP (“Dentons”) and am licensed
                                    3   to practice law in all the state and federal courts in the State of California. I am attorney of
                                    4   record for Defendants The Prudential Insurance Company of America, Pruco Life Insurance
                                    5   Company, and Pruco Life Insurance Company of New Jersey (collectively, “Defendants”) in the
                                    6   above-captioned action. I have personal knowledge of the facts set forth in this declaration and,
                                    7   if called as a witness, could and would competently testify thereto. I submit this declaration in
                                    8   support of Defendants’ Notice of Removal of Civil Action.
                                    9          2.      Attached here as Exhibit A is a true and correct copy of the online docket, the
                                   10   Complaint, Civil Case Cover Sheet, Summons, and ADR Packet, filed and served on Defendants
                                   11   in the state court proceedings before the Superior Court of California, County of Tulare, Case
                                   12   No. VCU302224.
1999 HARRISON STREET, SUITE 1300




                                   13          3.      I declare under penalty of perjury under the laws of the United States that the
      OAKLAND, CA 94612
       DENTONS US LLP


         415 882 5000




                                   14   foregoing is true and correct.
                                   15          Executed this 3rd day of November 2023, at Alameda, California.
                                   16

                                   17                                                        By: _______________________________
                                                                                                    Andrew S. Azarmi
                                   18

                                   19

                                   20

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                                   28
                                         CASE NO.                                    2               DECLARATION OF ANDREW S. AZARMI
Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 3 of 65




              Exhibit A
            Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 4 of 65




Case Detail Page
VCU302224
Nepinsky, Valerie vs. The Prudential Insurance Company of America
Civil: Unlimited-Visalia

  Summary             Filings        Parties       Documents          Events


 Summary 

    
        Case


           Filing Date          Case Caption                                                                 Disposition

           09/27/2023           Nepinsky, Valerie vs. The Prudential Insurance Company of America



    
        Parties


               Type                  Name                                                           Represented By

                  Complaint - Contract: Insurance Coverage (18) filed on 09/27/2023

                         Plaintiff   Nepinsky, Valerie                                              Sample, Rene T

                                     The Prudential Insurance Company of America
               Defendant

                                     Pruco Life Insurance Company
               Defendant

                                     Pruco Life Insurance Company of New Jersey
               Defendant



    
        Events


           Date/Time                           Type                                      Official       Location

           01/31/2024 08:30 AM                 Case Management Conference                Bianco         Department 02
             Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 5 of 65

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  Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 6 of CT65Corporation
                                                    Service of Process Notification
                                                                                                                 10/05/2023
                                                                                                    CT Log Number 544870662


Service of Process Transmittal Summary

TO:     Florence Yee
        THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
        751 BROAD ST
        NEWARK, NJ 07102-3714

RE:     Process Served in California

FOR:    Pruco Life Insurance Company (Domestic State: AZ)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                       VALERIE NEPINSKY vs. THE PRUDENTIAL INSURANCE COMPANY OF AMERICA

DOCUMENT(S) SERVED:                    Summons, Complaint, Cover Sheet, Stipulation, Alternative Dispute Resolution Status
                                       Report, Attachment(s)
COURT/AGENCY:                          Tulare County - Superior Court, CA
                                       Case # VCU302224
NATURE OF ACTION:                      Insurance Litigation

PROCESS SERVED ON:                     C T Corporation System, GLENDALE, CA

DATE/METHOD OF SERVICE:                By Process Server on 10/05/2023 at 14:22

JURISDICTION SERVED:                   California

APPEARANCE OR ANSWER DUE:              Within 30 days (Document(s) may contain additional answer dates)

ATTORNEY(S)/SENDER(S):                 Rene Turner Sample
                                       Freedman Law
                                       3705 W. Beechwood Avenue
                                       Fresno, CA 93711
                                       559-447-9000
ACTION ITEMS:                          CT has retained the current log, Retain Date: 10/06/2023, Expected Purge Date:
                                       10/11/2023

                                       Image SOP

                                       Email Notification, Legal Process Unit legal.process.unit@prudential.com

                                       Email Notification, Darbi Luzzi darbi.luzzi@prudential.com

                                       Email Notification, Lissette Diaz lissette.diaz@prudential.com

                                       Email Notification, Florence Yee Florence.Yee@Prudential.com

REGISTERED AGENT CONTACT:              Amanda Garcia
                                       330 N BRAND BLVD
                                       STE 700
                                       GLENDALE, CA 91203
                                       800-448-5350
                                       MajorAccountTeam1@wolterskluwer.com




                                                                                                                  Page 1 of 2
  Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 7 of CT65Corporation
                                                    Service of Process Notification
                                                                                                                 10/05/2023
                                                                                                    CT Log Number 544870662



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 2 of 2
                 Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 8 of 65

                                                                          Wolters Kluwer

                                PROCESS SERVER DELIVERY DETAILS



Date:                                            Thu, Oct 5, 2023
Server Name:                                     DROP SERVICE




 Entity Served                     PRUCO LIFE INSURANCE COMPANY

 Case Number                       VCU302224
 J urisdiction                     CA



                                                   Inserts
                  Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 9 of 65
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                              -      • • SUMMONS                                                                            FOR COURT USE ONLY
                                   (CITACION JUDICIAL)                                                                   (SOLO PAM USO OSLA CORTE]

 NOTICE TO DEFENDANT: The Prudential Insurance CoMparly cif Ainerica, a
 (AVJSOAL DEMANDAp0): corporation; Pruoci Life Insurance Company, a
   corporation-, pruco Life Insurance Company of New Jertey, business form unknown;
   and DOES 1 through 20, Inclusive




 YOU ARE BEING SUED BY PLAINTIFF: Valerie Nepinsky
 (LO ESTA DEMANDANDO EL DEMANDANTE):



        NOTICE' You have been sued. The court may decide against you Without Your being heard .unteSs it/6 respond WItriln"30 days: Read the Information
        below.                                                                  --
           You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a:copy
     • served on the,ptaintift:A letter or phone call will not protect you Your written response Must beIn proper legal form if you Want the court tri hear. your
       case.There may beia court form that you can use for Our reslionse. You Can find these court forms and More information at the California Courts
        Online Sell Help Center-(www.coUrtinfoxaeovlseffhelp); your county !aim library, or        courthouse nearest you If you Cahnofpay the filing fee; ask
        the court Clerk for a fee waiver form II you do not file your response on time, you May lose the Cese.by'default, and your wages-,money, and property
        may-be taken without further warning from the court.
          There are other legal requirements. You may Want to call an attorney right away. If you do not know an *emit you may Want to cell an attorney
       referral service. If you cannotafford an attorney, you maybe,gligible for free legal services.fronia nonprofit!ego services program. You can locate-
     - these nonprofit groups at the California Legal Services Web site (wWw.faivtielpcafifoniie:org),',the California Cairns Online Self Help Center.
      .(anvw.courrinf&cagovisalfhe/p), or by contacting your local court or county bar association. NOTE:The Court has:a statutory ken for waived fees and
       costs on any settlement Or arbitration award of $10,000 or more In a civil case. The courts lien must be paid before the court will dismiss the case.
       lAVISOI Lo hen demandado: SI no responde denim de.30 dles.       . . .la cotta puede deafer eh su       sin.escuchersti'version, Lea IIIinfomnicri5n a
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       he name and address Of the court is:                                                                   C.:ASS NUMSER:
' (El nombrey direeCion.de la Corte es):                                                                      Ntita0M del Cenci: V C U302224
  SiiPeriOr Courtof California, County of Tulare
'221S. Mooney pouleVard,'Room 201
  Visalia, California 93291
  Civil Division, Unlimited     _ Jurisdiction
                                      .
  The name; address, and telephone number Of plaintiffs attorney, pr plaintiff without an attorney.,is
(  E1 nombre, le direccion y el nomem de telefoito del a            - bbgado del demandente, o deldamandante que no &he abogado, es):
 Rene Turner Sample,SBN 138046                                                                         (559)447-9000'               (559)447-9100
  FREEDMAN LAW,3705 W.BeechWood Avenue, Fresno, California 93711
  Paul J. O'Rourke, Jr„ SE.IN 143951
  LAW OFFICES OF PAUL J. O'ROURKE,JR.;8050 N:'Palm Avenue, Suite 300, Fresno, California 93711
  DATE:                                                                               Clerk, by.                                         24_'Deputy
 •(-Fechti) 09/27/2023                       Stephanie Cameron (Secretano)                                                                           (Adjunto)
(ForprOof ofservice ofthis summons, use Proof of Service of Summons(form PO_S-010).)
(  Para prueba de entrega de este citatibri use elformu(arib Proof ofService Of Summons,(PO -010)).
                                            NOTICE TO THE PERSON SERVED:You are served
                                           1. f---1 as an individual defendant.
                                           2. n as the person sued under the fictitious name of(specify):
                                                                            Pruco Life Insurance Company, a
                                       3. lx1 on behalf of(specify):
                                                                     -      corporation
                                           under: M.CCP 416;10(corporation)                    ri CCP 416.60(minor)
                                                      ccp 416.20(defunct corporation)                          [-I
                                                                                                  CCP 416.70(conservatee)
                                                 [ =ICCP 41.6.40 (assciciation or partnership) =CCP 416.90(authorized person)
                                                  1-1tither (specifY):
                                       4. 1-1 by personal delivery on (date):                                             Fuse 1 id1
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Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 10 of 65
                                               Assigned to Judicial Officer
                                                John P Bianco

                                               For All Purposes
      1 Rene Turner Sample, SBN 138046                               ELECTRONICALLY FILED
         FREEDMAN LAW                                                 Superior Court of California..
      1 3705 W. Beechwood Avenue                                           Couriy of TiiI8re
         Fresno, California 9371 1                                           09f2712023
      3 Telephone NO.:(559)447-9000                                            Sevanah Trevino
        :Facsimile No.,: (559)447-9100
      4 Email address: OServicealreedmanlaw.com                                Deputy Clerk

  '5 Paul J. O'Rourke. Jr., SBN 143951
         LAW OFFICES OF PAUL J*..0'ROURKE, JR.
  6 8050 N. Palm Avenue, Suite 300
        Fresno, California 93711
  7 Telephone No.:(559)272-9670                            Case Managettent•C6nference
        FacSimile No.: (559) 549-6224                       01/31/2024 08:30 AM - Department 02
  8 Email address:paulOnjorlaw.com
  9 Attorneys for Plaintiff
       'VALERIE NERINSKY
 10
 11                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 12                                     FOR THE COUNTY OF TULARE
 13
 14 VALERIE NEPINSKY,                                  Case No.      V0U302224

 15                   Plaintiff                        COMPLAINT FOR DAMAGES FOR
 16            V.                                            I. BREACH OF CONTRACT
                                                            2. TOR.1TOUS PREACH OF THE
17 THE PRUDENTIAL INSURANCE                                 . ImpLmp .COVINANT OF GOOD
        COMPANY OFAMERICA,a eOrpOration;.                       FAITH AND FAIR DEALING
18 PRUCG LIFE INSURANC.E CQMPANY,,a                         3. INTENTIONAL
        corporation; PRUCO LIFE INSURANCE                       MISREPRESENTATION
19 COMPANY OF NEW JERSEY,busirwss fonri ,                   4. NEGLIGENT
       ,unknown; and DOES I through 20, inclusive,              MISREPRESENTATION
20
                     Defendants.                       DEMAND FOR JURY TRIAL
21


23
-)4           COMES NOW, plaintiff, VALERIE NEP1NSKY, and hereby alleges in her Complaint for

25 Damages against Defendants as follows:
26                                              ,PARTIES
/7                   Plaintiff. VALERIE NEPINSKY ("Plaintiff"), is and was, at all relevant times, an

28 individual who resides in Tulare County, California.
                                                     - -
                                               COMPLAINT
Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 11 of 65




                  2.      Defendant, THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, a
     2    corporation, has, at all relevant times, conducted the business of life insurance in Tulare County,
     3    California.
     4            3.      Defendant, PRUCO LIFE INSURANCE COMPANY, a corporation, has, at all
  5       relevant times,conducted the business oflife insurance in Tulare County, California.
 6                4.     Defendant, PRUCO LIFE INSURANCE COMPANY OF NEW JERSEY, business
 7        form unknown, has, at all relevant times, conducted the business oflife insurance in Tulare County,
 8 'California.

 9 •             5.      Defendants, THE PRUDENTIAL INSURANCE COMPANY OF AMERICA,
 10 PRUCO LIFE INSURANCE COMPANY and PRUCO LIFE INSURANCE COMPANY OF NEW
 11 JERSEY will hereafter collectively be referred to as"PRUDENTIAL".
12               6.      Defendants DOES 1 through 20, are unknown, but are believed to be operating on
13       behalfofor with the authority ofDefendants or are otherwise liable for the events alleged herein and
14       Plaintiffs' damages alleged herein.
15               7.      Plaintiff is ignorant of the true names and capacities of defendants sued herein as
16       DOES 1 through 20, inclusive, and therefore sue these defendants by such fictitious names and
17       capacities. Plaintiffis informed and believes, and thereon alleges, that at all relevant times alleged in
18       this Complaint, each of the fictitiously named defendants are responsible in some manner for the
19       injuries and damages to Plaintiff. Plaintiff will seek leave to amend this Complaint when their names
20       and participation in the acts alleged herein have been ascertained.
21               8.     Plaintiff is informed and believes, and thereon alleges, that each of the defendants
22       named herein was the agent, servant, or employee of each of the remaining defendants, and at all
23       times mentioned herein, each was acting within the scope and authority of such agency or
24       employment and for the mutual benefit ofthe other defendants.
25                                                      VENUE
26              9.      Venue is proper in this Court because: Tulare County is where the subject life
27       insurance contract was entered into; Tulare County is where the contract is to be performed; and
28       Tulare County is where the obligation or liability arises.
                                                          - 2-

                                                     COMPLAINT
Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 12 of 65




                                FACTS COMMON TO ALL CAUSES OF ACTION
     2           10.     Plaintiff's deceased husband, Brian Nepinsky, co-owned a business named FFL Inc.
     3 ("FFL")in Visalia, California, along with Chris Riddington.

     4           11.     FFL purchased PRUDENTIAL Life Insurance Policy No. L8154811 (the "Policy").
     5    When the Policy was issued,FFL was the owner ofthe Policy. Brian Nepinsky was the insured. Chris
  6       Riddington was the beneficiary.
  7              12.    In August of 2020, FFL was in the process of closing its business. Since FFL was
  8       closing its business, with the agreement ofFFL and Chris Riddington, Brian Nepinsky sent a proper
  9       notice of change of beneficiary form to PRUDENTIAL, naming Plaintiff as the beneficiary. The
 10 change of beneficiary form was returned to Brian Nepinsky on the grounds that the change of
 1 1 beneficiary form was not signed. However, the change of beneficiary form did not have a signature
 12      line. Plaintiff alleges that she should have been the beneficiary under the Policy in and after August
 13 of2020.
 14              13.    Consistent with the facts alleged in the preceding paragraph(that FFL,Mr.Riddington
 15      and Mr. Nepinsky agreed that Plaintiffshould be the recipient ofany Policy benefits ifMr. Nepinsky
16       died), on July 26, 2021, Chris Riddington assigned, in writing, to Plaintiff all rights and benefits he
17       had as beneficiary under the Policy. The assignment states: "I, Chris Riddington, hereby agree to
18       assign all rights and benefits I may have as beneficiary under the [P]rudential policy number
19       L8154811 for owner FFL,Inc. and insured Brian Nepinsky to Valerie Nepinsky."The assignment is
20       dated July 26,2021,and is signed by Mr. Riddington,as Secretary and Treasurer of FFL. As alleged
21       infra, PRUDENTIAL has known ofthis assignment since shortly after September 27,2021.
22              14.     According to PRUDENTIAL,FFL did not pay the Policy's $635.00 annual premium
23       due by the due date ofJuly 26,2020.
24              15.    Plaintiff is informed and believes, and on that basis alleges that, in violation of
25       California law,PRUDENTIAL did not provide notice to the named Policy owner, FFL,ofa missed
26       premium payment within 30 days ofthe missed July 26,2020, premium payment and did not provide
27, a notice ofpending lapse and termination of policy to the named Policy owner,FFL,at least 30 days

28       prior to any purported Policy termination. Cal. Ins. Code §§ 10113.71(bX1), (3), 10113.72(c);
                                                          3

                                                    COMPLAINT
Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 13 of 65




          McHugh v. Protective Life Ins. Co., 12 Cal.5th 213,240(August 30,2021).
     2           16.     In addition, pursuant to California Insurance Code section 10113.71(a) ("Section
     3 10113.71(a)"),"[ejach life insurance policy issued or delivered in this state shall contain a provision

  4 for a grace period ofnot less than 60 days from the premium due date. The 60-day grace period shall

  5 not run concurrently with the period of coverage. The provision shall provide that the policy shall

  6 remain in force during the grace period."

  7              17.    Based on Section 10113.71(a), regardless of when the Policy was issued (prior to or
  8 after Section 10113.71(a)taking effect on January 1, 2013)or what the stated grace period is in the

  9 Policy,the Policy is deemed,as a matter oflaw,to contain a grace period of60 days. McHugh.supra,

 to 12 Cal. 5th at 240. This means that, regardless of whether the annual premium was paid, indemnity
  t is owed under the Policy if, as happened here, the insured dies within 60 days of July 26, 2020.
 12 McHugh,supra, 12 Cal.5th at 233("[I]fthe insured dies during the extended grace period,the insurer
 13 will be required to pay benefits for which it has not received a premium ... [although] the insurer
 14 would be entitled to deduct the unpaid premium payment from any life insurance benefits it pays

 15 out.").

16               18.    In addition, Insurance Code section 10113.72(a)and(b)require that an insurer notify
17 an individual life insurance policy applicant(subdivision a)and the policy owner(subdivision b)"of

18 the right to designate at least one person, in addition to the applicant [and policy owner], to receive

19 notice of a lapse or termination of a policy for nonpayment of premium." Insurance Code section

20 10113.72(c) provides that no "individual life policy shall lapse or be terminated for nonpayment of

21       premium unless the insurer, at least 30 days prior to the effective date of the lapse or termination,
22 gives notice to the policy owner and to the person or person designated pursuant to subdivision (a)."

23              19.    In this case, on information and belief;, Plaintiff alleges that PRUDENTIAL violated
24 Insurance Code section 10113.72(a)and(b)by not notifying FFL at the inception ofthe Policy and/or
25 annually ofits ofits right to designate at least one other person,in addition to the applicant and policy

26 owner, to receive notice ofa lapse or termination ofa policy for nonpayment ofpremium. As alleged

27 on information and beliefsupra,PRUDENTIAL never sent a notice ofpending lapse and termination

28 of the Policy at least 30 days before any purported Policy lapse or termination. However, even if,
                                                   4-

                                                    comakirrr
Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 14 of 65




     I hypothetically, PRUDENTIAL did so, its violation of Insurance Code section 10113.72(a) and (b)
 2     would render such notice invalid and null and void.
 3             20.    PRUDENTIAL sent a September 3,2020,letter to FFL enclosing a bill for the$635.00
 4     annual premium. PRUDENTIAL's September 3, 2023, letter did not mention any missed payment,
 5     pending Policy lapse or that the Policy had terminated. PRUDENTIAL's September 3,2020, letter
 6     was sent during the mandatory 60-day grace period in which the Policy is required to remain in force.
 7             21.    On September 4,2020, Brian Nepinsky tragically died in a plane crash that occurred
 8 that day.
 9            22.     On September 15, 2020, Plaintiffsent a check for $635.00 to PRUDENTIAL, which
 10    was made payable to PRUDENTIAL. This check was sent to PRUDENTIAL while the Policy was
ii still in force due to the mandatory 60-day grace period.
12            23.     PRUDENTIAL subsequently cashed Plaintiff's September 15,2020, check.
13            24.     By letter dated September 15, 2020, to FFL, PRUDENTIAL advised FFL that
14     PRUDENTIAL had not yet received the $635.00 payment due by July 26, 2020, but that the Policy
15     could be reinstated with a payment received by September 26, 2020. However, as noted, on
16     information and belief, as requited by the law,PRUDENTIAL never sent to FFL a notice ofpending
17     lapse and termination of policy at least 30 days before any purported termination of the Policy. In
18 addition, as ofthe date ofPRUDENTIAL's September 15,2020,letter, the Policy remained in force
19    due to the legally required 60-day grace period. Therefore,PRUDENTIAL's letter falsely stated that
20    the Policy had terminated. The letter further stated that if payment had already been made, the letter
21    could be disregarded. As noted, the payment had already been made by Plaintiff by check dated
22    September 15,2020,and PRUDENTIAL cashed the check.
23            25.     On September 29,2020,PRUDENTIAL sent another letter to FFL stating that while
24    payment had not yet been received and although the Policy had lapsed, the Policy was eligible for
25    reinstatement. Again, Plaintiff paid the annual premium due before the expiration ofthe mandatory
26    60-day grace period and,on information and belief, without PRUDENTIAL ever having sent to FFL
27    a notice ofpending lapse and termination ofpolicy at least 30 days prior to any purported termination
28    ofthe Policy.
                                                     - 5-

                                                 COMPLAINT
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     1            26.     In addition, under the McHugh case, supra, 12 Cal. 5th at 233,regardless of whether
     2    Plaintiffpaid the annual $635.00 premium,since Mr. Nepinsky died during the legally mandated 60-
     3    day grace period,PRUDENTIAL owed the $500,000 in indemnity benefits under the Policy.
     4            27.     PRUDENTIAL sent a letter dated October 24, 2020, to FFL, which enclosed a
     5    PRUDENTIAL check for $635.00. The letter stated that PRUDENTIAL could not accept the check
     6    because the Policy had lapsed. The PRUDENTIAL check was not cashed.
     7            28.    By letter dated September 27,2021, Rene Turner, counsel for Plaintiff, made a claim
 8        under the Policy on behalfofPlaintiff. Ms.Turner's letter discussed the factual history ofthe matter.
 9        Ms.Turner's letter also stated that the change of beneficiary request made in August of2020(from
 10       Mr.Riddington to Plaintiff), had been improperly rejected. Ms.Turner further provided a copy ofthe
 11 July 26,2021, written assignment of Mr. Riddington's rights and benefits, as a beneficiary under the
 12       Policy, to Plaintiff. Ms. Turner's letter asked for confirmation that the Policy was in full force when
 13       Mr.Nepinsky died. Ms.Turner's letter also stated:"I also hereby demand full payment ofthe policy."
14               29.     Ms.Turner's letter further stated:"In the event it is your position that the policy was
15       not in effect, please provide written documentation setting forth a basis for your denial and provide a
16       complete copy ofthe file regarding this policy,including but not limited to,a copy ofthe policy, the
17       application, all payment records and all correspondence regarding this policy."
18               30.     After having received Ms.Turner's September 27,2021,letter, given its duties under
19       the implied covenant of good faith and fair dealing and applicable California claims handling
20       regulations, PRUDENTIAL was required to "conduct and diligently pursue a thorough, fair and
21       objective investigation ...." Cal. Code Regs. Title 10,§ 2695.7(d). PRUDENTIAL failed to conduct
22       any meaningful investigation. PRUDENTIAL did not contact Ms. Turner- or Plaintiff. Based on
23       information and belief, PRUDENTIAL did not contact Mr. Riddington.
24              31.     An "insurer bears a common law obligation to assist the insured to recover bargained-
25       for policy benefits. ... This obligation is often described as a manifestation ofthe duty ofgood faith
26       and fair dealing, which arises from every contract as an implied covenant generating both a
27       contractual obligation and a duty in tort." City ofHollister v. Monterey Insurance Company, 165 Cal.
28       App.4th 455,490-491 (2008). Despite the foregoing duty owed by PRUDENTIAL,PRUDENTIAL
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     I made no effort to assist Plaintiffto recover benefits owed under the Policy.
     2            32.    Instead, by letter to Ms.Turner dated November 8,2021,and without having engaged
     3    in any meaningful investigation of the facts or controlling law, Kimberly King, Vice President of
     4 Operations for PRUDENTIAL,represented as follows:"Our records indicate that this policy lapsed
     5    on 8/26/2020 due to non-payment ofan annual premium that was due on 7/26/2020. The insured died
  6       on 9/4/2020 and the check from Valerie Nepinsky is dated 9/15/2020. A policy cannot be reinstated
     7    after the death ofthe insured." The letter claimed that the payment "submitted by Valerie NepinsIcy
  8       was returned to the owner ofthe policy,FFL Inc., on 10-27-2020."
 9               33.     The November 8, 2021, letter sent by Kimberly King, Vice President of Operations
 10 for PRUDENTIAL, further represented: "Unfortunately, the letter dated 9/15/2020, advising the
 11      owner they were able to reinstate this policy, had already been mailed before the death ofthe insured
 12       was reported to Prudential. This policy had a 31 day grace period before it would lapse ifpayment is
13       received within that grace period and before the death ofthe insured as it is explained on the letter
14       dated 9/15/2020 which was addressed to the owner, FFL Inc."
 s               34.    In the McHugh case, based on California Insurance Code section 10113.71(a), the
16       California Supreme Court held that "if the insured dies during the extended grace period [60 days
17       following the premium due date], the insurer will be required to pay benefits for which it has not
18       received a premium ... [although] the insurer would be entitled to deduct the unpaid premium
19 payment from any life insurance benefits it pays out." McHugh,supra, 12 Cal. 5th at 233
20              35.     The opinion in the McHugh case, supra, 12 Cal. 5th 213, was issued on August 30,
21       2021. As a Vice President ofOperations for a major life insurer conducting the business ofinsurance
22       in California,Ms.King and her employer,PRUDENTIAL,knew or should have known ofthe holding
23       in the McHugh case at and before the time that Ms. King sent her November 8, 2021, letter to Ms.
24       Turner. Therefore,the November 8,2021,letter sent to Plaintiffs counsel by PRUDENTIAL's Vice
25       President ofOperations intentionally or negligently misrepresented that the grace period was 31 days
26       rather than the legally mandated 60 days. .
27              36.     Under California's claims handling regulations, when an insured makes a
28       communication "that reasonably suggests that a response is expected, every licensee, shall
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     1    immediately, but in no event more than fifteen days after receipt ofthat communication, furnish the
     2    claimant with a complete response based on the facts as the known by the licensee." Cal. Code Regs.
     3    Title 10, § 2695.5(b). Despite Ms. Turner's request to PRUDENTIAL contained in her September
     4    27, 2021, letter, PRUDENTIAL never sent Ms. Turner a complete copy of the file regarding the
     5    Policy,including but not limited to,a copy ofthe Policy,the application,all payment records and all
     6    correspondence regarding this Policy.
     7                                       :FIRST CAUSE:OFACTION
                                                  Breach of Contract
 9                      (By Plaintiff against all Defendants,including DOES 1 through 20)
 10               37.     Plaintiff hereby incorporates by reference paragraphs 1 through 36, above, as if set
 11       forth in full herein.
 12               38.     FFL and PRUDENTIAL entered into a contract oflife insurance(the Policy).
 13              39.      As relevant here,the material terms ofthe Policy were that: FFL was the owner ofthe
 14      Policy; Brian Nepinsky was the insured under the Policy; Chris Riddington was the beneficiary under
15       the Policy; the Policy limits were $500,000.00; and upon the death of the insured, PRUDENTIAL
16       would pay the beneficiary $500,000.00.
17               40.     As alleged supra,in August of2020,prior to Mr. Nepinsky's death, because FFL was
18       closing its business, Chris Riddington, a co-owner of FFL, along with Brian Nepinsky, no longer
19       needed to be named as a beneficiary. A proper change in beneficiary form wassent to PRUDENTIAL.
20       changing the beneficiary from Chris Riddington to Plaintiff. The document was improperly returned
21       by PRUDENTIAL claiming it did not have a signature. However, the PRUDENTIAL change in
22       beneficiary form did not have a signature line. As a result, Plaintiff should be considered the sole
23       beneficiary under the Policy as of August of2020.
24               41.     Alternatively,ifChris Riddington is deemed to be the sole beneficiary under the Policy
25       on the date that Mr. Nepinsky died,on July 26,2021,as alleged supra,Chris Riddington assigned,in
26       writing, all rights and benefits he may have as beneficiary under the Policy to Plaintiff. Mr.
27       Riddington did so because that was the intent of FFL, Mr. Riddington and Mr. Nepinsky in August
28       of2020 to make Plaintiff the beneficiary under the Policy. Therefore, as Mr. Riddington's assignee,
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     1 Plaintiff stands in the shoes of Mr. Riddington as the beneficiary under the Policy and has the
  2 contractual right to receive all contractual benefits due under the Policy. As alleged supra,

  3 PRUDENTIAL has known ofthe assignment of rights since receiving Ms. Turner's September 27,

 4 2021, letter to PRUDENTIAL.

              42.     While the annual premium of$635.00 purportedly due by July 26,2020, was not paid
 6 by FFL on or before that date,as alleged supra,on information and belief,PRUDENTIAL never sent

 7 a notice of pending lapse to FFL at least 30 days prior to any Policy lapse as required by California

 8 law. Cal. Ins. Code 10113.71(b)(1).
 9            43.    In addition, as alleged supra, pursuant to California Insurance Code section
 to 10113.71(a),regardless ofwhen the Policy wasissued or what the stated grace period is in the Policy,
11 the Policy is deemed,as a matter oflaw,to contain a grace period of60 days past the missed premium
12, due date ofJuly 26,2020. The statutory 60-day grace period requirement supersedes any conflicting

13 language contained in the Policy. That means the Policy was required to remain in force, regardless

14 of whether the annual $635.00 annual premium was paid,for 60 days after July 26,2020.

15            44.    In addition, as alleged supra,PRUDENTIAL sent a September 3,2020,letter to FFL.
16 That letter simply enclosed a bill for $635.00. The letter did not mention any missed payment or

17 policy lapse.

18           45.     On September 4,2020, Brian Nepinsky tragically died in a plane crash that occurred
19 that day.

20           46.     As alleged supra, Mr. Nepinsky's death occurred on September 4, 2020, which is
21    within the legally required 60-day grace period when the Policy remained in force regardless of
22 whether the Policy contained a 31-day grace period or whether the annual $635.00 premium was

23 paid. McHugh.supra, 12 Cal. 5th at 233 raythe insured dies during the'extended grace period,the

24 insurer will be required to pay benefits for which it has not received a premium ... [although] the

25 insurer would be entitled to deduct the unpaid premium payment from any life insurance benefits it

26 pays out.").

27           47.    Nevertheless, on September 15, 2020, Plaintiff sent a check for $635.00 to
28 PRUDENTIAL which was made payable to PRUDENTIAL.
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                  48.      PRUDENTIAL subsequently cashed the check.
     2            49.      Plaintiff presented a claim to PRUDENTIAL via Ms. Turner's September 27,2021,
     3    letter to PRUDENTIAL.
     4            50.      Plaintiff and her assignor and FFL satisfied all conditions required under the Policy
     5    and/or any such conditions allegedly complied with were waived by PRUDENTIAL and/or
     6    PRUDENTIAL is equitably estopped from raising such conditions.
     7            51.      On November 8,2021,PRUDENTIAL breached the Policy by not paying Plaintiffthe,
 8        $500,000.00 limits ofthe Policy as demanded by Plaintiff. The breach occurred when PRUDENTIAL
 9        refused to pay the benefits by its November 8, 2021, letter, not when PRUDENTIAL improperly
 10       terminated the Policy. Poe v. Northwestern Mutual Life Insurance Company,2023'WL 5251875, at
 It * 4(C.D. Cal. August 14,2023).
 12               52.     Since the insured, Mr. Nepinsky, died within the legally mandated 60-day grace
13        period, PRUDENTIAL owed the full $500,000 indemnity limits of the Policy minus the unpaid
 14       premium(which was in fact paid to PRUDENTIAL by Plaintiffon September 15,2020).
15               53.      PRUDENTIAL's November 8, 2021, breach of contract was a substantial factor in
16       causing Plaintiff's harm.
17               54.      As a result ofPRUDENTIAL'S breach ofthe Policy, Plaintiff has suffered damages,
18       including, but not limited to, loss of the $500,000 indemnity payment owed under the Policy, and
19       interest at the legal rate thereon, mental and emotional harm and other consequential and incidental
20       damages to be proven at trial.
21                                          SECOND CAT-MEI:IF ACTION
22                     Tedious Breach ofthe Implied Covenant of Good Faith and Fair Dealing
23                       (By Plaintiff against all Defendants,including DOES 1 through 20)
24               55.      Plaintiff hereby incorporates by reference paragraphs 1 through 54, above, as if set
25       forth in full herein.
26               56.      As alleged in the preceding cause of action, as a result of its breach ofthe Policy on
27       November 8, 2021, PRUDENTIAL has withheld from Plaintiff, either as the beneficiary under the
28       Policy or as the assignee ofall the beneficiary's contractual rights and benefits under,the Policy, the
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     i $500,000 in indemnity benefits owed under the Policy.
     2             57.    PRUDENTIAL's withholding ofthe benefits owed under the Policy was unreasonable
     3    and without proper cause.
     4             58.    First, on information and belief,Plaintiff alleges that PRUDENTIAL knew that it did
     5    not lawfully provide notice ofa pending Policy lapse and termination ofpolicy to FFL,the owner of
  6 the Policy, at least 30 days prior to any purported Policy termination.
 7                 59.    Next, as alleged supra, even if the PRUDENTIAL Policy specifies a 31-day grace
 8        period (and PRUDENTIAL has refused Plaintiff's request for a copy ofthe Policy),PRUDENTIAL
 9        knew or should have known, particularly because the McHugh decision was issued at least two
 10       months prior to PRUDENTIAL's claim denial, that California law has mandated that every life
 11 insurance policy contain a 60-day grace period provision. Cal. Ins. Code § 10113.71(a); McHugh,
 12      supra, 12 Cal.5th at 233("[I]fthe insured dies during the extended grace period, the insurer will be
 13      required to pay benefits for which it has not received a premium ... [although] the insurer would be
14       entitled to deduct the unpaid premium payment from any life insurance benefits it pays out."). The
15       statutory 60-day grace period requirement supersedes any conflicting language contained in the
16       Policy.
17               60.     Prudential knew that Mr.Nepinsky's death occurred on September4,2020,which was
18       within the legally required 60-day grace period when the Policy was still in force regardless of
19       whether the Policy contained a 31-day grace period or whether the annual $635.00 premium was paid
20 (which it was ultimately timely paid).

21              61.      PRUDENTIAL also knew that on September 3, 2020, during the required 60-day
22       grace period, PRUDENTIAL sent a bill for the annual $635.00 premium owed by FFL and that
23       Plaintiff subsequently paid said premium by check dated September 15, 2020. PRUDENTIAL also
24       knew that it cashed the September 15,2020,check for the $635.00 annual premium payment
25              62.      Despite PRUDENTIAL's knowledge of the matters set forth above and as alleged
26       supra,in response to Plaintiff's counsel's September 27,2021,letter making a claim to Prudential on
27       behalfofPlaintiffand demanding that PRUDENTIAL pay the Policy limits,by letter dated November
28       8, 2021, and without conducting any meaningful investigation, and violation of the statutory law
                                                         11

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     1 discussed,supra,and the McHugh case,PRUDENTIAL breached the Policy,in bad faith, by refusing
     2    to pay the full indemnity limits owed. PRUDENTIAL also refused, in violation of its duty of good
     3    faith and fair dealing and California claims handling regulations, to provide documents, upon the
     4    request of Plaintiffs counsel, which are relevant to Plaintiff's claim for Policy benefits and
     5    PRUDENIAL's refusal to provide Policy benefits(see paragraphs 29,36,supra).
 6               63.     PRUDENTIAL's November 8,2021, denial letter also misrepresented California law
     7    regarding the required grace period.PRUDENTIAL claimed that the Policy contained a 31-day grace
 8        period. Notwithstanding what grace-period language the PRUDENTIAL Policy may contain (and
 9        PRUDENTIAL refused Plaintiff's request for a copy ofthe Policy), PRUDENTIAL knew or should
 w have known,following the McHugh decision, that California law mandates that every life insurance
 II       policy contain a 60-day grace period provision. Cal. Ins. Code § 10113.71(a).
 12              64.     The decision in the McHugh case was issued over two years ago. Notwithstanding that
 13      PRUDENTIAL must be well-acquainted with said decision by now,PRUDENTIAL never re-opened
14       and evaluated Plaintiff's claim to determine whether PRUDENTIAL improperly withheld policy
15       benefits because ofthe McHugh decision and the California statutes discussed supra.PRUDENTIAL
16       obviously decided, for selfish economic reasons, to be reactive, not proactive, by defending against
17       the few lawsuits that arise(most consumers and attorneys who are not insurance coverage counsel
18       are not familiar with the statutes mentioned in this Complaint and the McHugh case)rather than re-
19       opening claims and paying claims which should have previously been paid and which are still owed.
20              65.     PRUDENTIAL's unreasonable denial ofcoverage on November 8,2021,and its other
21       bad faith conduct as alleged herein, has caused substantial harm to Plaintiff. This harm includes, but
22       is not limited to, the $500,000 in indemnity limits due to Plaintiff and unreasonably withheld by
23       PRUDENTIAL, and interest at the legal rate thereon, mental and emotional distress, and other
24       economic damages,all in an amount to be proven at trial.
25              66.     As a further result ofPRUDENTIAL unreasonably withholding Policy benefits which
26       are due to Plaintiff Plaintiff has had to retain attorneys to seek recovery ofsuch Policy benefits. As
27       a result, under the authority ofBrandt v. Superior Court,37 Cal. 3d 813(1985), Plaintiffis entitled
28       to recovery of her attorneys' fees incurred in seeking benefits unreasonably withheld by
                                                        - 12-

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     1 PRUDENTIAL.
     2         67.    In addition, PRUDENTIAL's conduct as alleged herein has been oppressive,
     3 fraudulent, and malicious, and such conduct has been authorized and/or ratified by the officers

     4 (Kimberly King, Vice President of Operations), directors,or managing agent(Kimberly King, Vice

  5 President of Operations) of PRUDENTIAL, thereby entitling Plaintiff to the recovery of punitive

  6 damages against PRUDENTIAL

  7                                     THIRD CAUSE.OF;ACTION
  8                              INTENTIONAL MISREPRESENTATION
  9                  (By Plaintiffagainst all Defendants,Including DOES 1 through 20)
 10           68.    Plaintiff hereby incorporates by reference paragraphs 1 through 67, above, as if set
 11 forth in full herein.
 12           69.    By letter dated November 8, 2021, Kimberly King, Vice President of Operations, of
 13 PRUDENTIAL,made the following representation to Plaintiff's counsel:"This policy had a 31 day

 14 grace period before it would-lapse ifpayment is received within that grace period and before the death

 15 ofthe insured as it is explained on the letter dated 9/15/2020 which was addressed to the owner,FFL

 16 Inc."
17            70.    The foregoing representation was false, because even ifthe Policy contains a 31-day
is grace-period and regardless of when the Policy was issued,the Policy is deemed, as a matter oflaw,
19 to contain a 60-day grace period and the Policy applies if the insured dies during the 60-day grace

20 period regardless of whether the overdue premium is paid. Cal. Ins. Code § 10113.71(a); McHugh,

21 supra, 12 Cal. 5th at 233("UN the insured dies during the extended grace period, the insurer will be

22 required to pay benefits for which it has not received a premium...?).

23           71.     Kimberly King, with the knowledge and authorization of PRUDENTIAL, and on
24 behalfofPRUDENTIAL,and within the course and scope ofher employment with PRUDENTIAL,

25 knew that the representation was false when she made it, or she made the representation recklessly

26 and without regard for its truth.

27           72.     Kimbely King, with the knowledge and authorization of PRUDENTIAL, and on
28 behalfofPRUDENTIAL,and within the course and scope ofher employment with PRUDENTIAL,
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     1 intended that Plaintiffrely on the representation.

  2            73.     Plaintiffreasonably relied on the representation.
  3.           74.     As a result, Plaintiff was harmed.
  4            75.     Plaintiff's reliance on said representation was a substantial factor in causing her harm.
       This harm includes, but is not limited to, the $500,000 in indemnity limits due to Plaintiff and
  6 unreasonably withheld by PRUDENTIAL,and interest at the legal rate thereon, mental and emotional

  7 distreis, and other economic damages, all in an amount to be proven at trial.

  8            76.    In addition, PRUDENTIAL's conduct as alleged herein has been oppressive,
  9 fraudulent, and malicious, and such conduct has been authorized and/or ratified by the officers

 10 (Kimberly King, Vice President of Operations), directors, or managing agent(Kimberly King, Vice

 1 1 President of Operations) of PRUDENTIAL, thereby entitling Plaintiff to the recovery of punitive

 12 damages against PRUDENTIAL.

 13,                                    FOURTH CAUSE OF ACTION,
 14                                NEGLIGENT MISREPRESENTATION
 15                  (By Plaintiff against all Defendants,including DOES 1 through 20)
 16           77.     Plaintiff hereby incorporates by reference paragrapk5 1 through 76, above, as if set
17 forth in full herein.

18            78.     By letter dated November 8,2021, Kimberly King, Vice President of Operations, of
19 PRUDENTIAL,made the following representation to Plaintiff's counsel:"This policy had a 31 day

20 grace period before it would lapse ifpaymentis received within that grace period and before the death

21' ofthe insured as it is explained on the letter dated 9/15/2020 which was addressed to the owner, FFL

22 Inc."

23            79.    The foregoing representation was false, because even ifthe Policy contains a 31-day
24 grace-period and regardless of when the Policy was issued, the Policy is deemed, as a matter oflaw,

25 to contain a 60-day grace period and the Policy applies if the insured dies during the 60-day grace

26 period regardless of whether the overdue premium is paid. Cal. Ins. Code § 10113.71(a); McHugh,'

27 supra, 12 Cal. 5th at 233("[I]fthe insured dies during the extended grace period, the insurer will be

28 required to pay benefits for which it has not received a premium ....").
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           1            SO.     Kimberly King, with the knowledge and authorization of PRUDENTIAL, and on
                behalf of PRUDENTIAL,and within the course and scope of her employment with PRUDENTIAL,
       3        made such a representation. Although Ms. King may have honestly believed that the representation
       4        was true, she had no reasonable grounds for believing the representation was true when she made it.
       5               SI .    Kimbely 'King, with the knowledge and authorization of PRUDENTIAL, and on
      6         behalf ofPRUDENTIAL,and within the course and scope °flier employment with PRUDENTIAL
       7-       intended that Plaintiff rely on the representation.

                       8/.     Plaintiff reasonably relied on the representation.
      9                83.     As a result, Plaintiff was harmed.
                       84.     Plaintiffs reliance on said representation was a substantial factor in causing her harm.
 It            This harm includes, but is not limited to, the S500,000 in indemnity limits due to Plaintiff and
 I             unreasonably withheld by PRUDENTIAL,and interest at the legal. rate thereon, mental. and emotional'
 13            distress, and other economic damages, all in an amount to be proven at trial.
14                                                   PRAYER FOR RELIEF
 15                    WHEREFORE, Plaintiff prays for judgment against all Defendants as follows:
 16'                   I.      For all compensatory damages suffered and sustained.by Plaintiffs on the first, second,
 17            third and fourth causes of action, including economic damages, mental and emotional distress, and
 IS            Brandi attorney's fees, all in an amount to be proven at trial:
 1                    2.       For punitive damages pursuant to the second and third causes of action;
     029                      For prejudgment interest on the economic damages;
21                    4.      For all awardable court costs; and
                      5.      For such other and further relief in law or in equity as the Court deems just and proper.
23                                                                     FREEDMAN LAW
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.26            Dated: September 26, 2023                          By:4
                                                                   'Rene Turner Sample; Esq.i
27                                                                  A ttoiney:fdr'Plaintiff
                                                                    V;$, LERIE.NERINSKY
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Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 25 of 65



                                                              LAW OFFICES OF PAUL 1. O'ROURKE,JR,
      7


      3

     4     Dated: September 26, 2023                    By:
                                                           Paul J. O'Rourke-, Jr., Esq.
     5
                                                           Attorneys
     6
                                                           VALE 1..EWEPINSKY

     7                                   .DEIVIANDItOR:RIRY TRIAL
     8           Plaintiff, VALERIE NEPINSKY, hereby demands a trial byjury in the above-entitled matter.
    9                                                         FREEDMAN LAW
 10

 11

 12       Dated: Septembcr 26, 2023                     By
                                                          'Relt"el'arneiT:Wplei,E q.
 13                                                        Attorneys for Plaintiff
                                                           VALERIE NEPINSKY

15                                                            LAW OFFICES OF PAUL J. O'ROURKE,JR.
16

17

18        Dated: September 26, 2023                    By:
                                                         :NO 1,:07.(tcrulicq, Jr, Esq
19                                                        Attorneys for Plaintiff
                                                          VALERIE NEPINSKY
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                                                 COMPLAINT
           Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page
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  Rene'Turner Sample,SBN 138046                 Paul J. O'Rourke, Jr., SBN 143951
  FREEDMAN LAW                                 LAW OFFICES OF PAUL J. O'ROUKE,JR.
  3705W.Beechwood Avenue,Fresno,CA 93711       8050 N.NMI AMA Ste,300,Fresno,CA 93711
         TELERNONE Nat (559)447-0000             - FAX NO.10‘02.0Te (559)4474100                      ELECTRONICALLY FILED
        RAWL ADORES& eService@freedrnanlaw.com; paul@plorlaw.com                                      Superior Court of California,
    ATTORNEY FOR PR* Plaintiff, Valerie Napinsky                                                               County of Tulare
                                                                                                                09/27/2023
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF TULARE
   STREETAINTRIM 221 S. Mooney Boulevard, Room 201
                                                                                                               By Sevanah Trevino.
   MAILING ADORES&
                                                                                                                  Deputy Clerk
  CM/ANDER CODE: Visalia, California 93291
      BRANCH Tose ChM Division, Unlimited Jurisdiction
  CASE NAME:
   NEPINSKY.Valerie v.The Prudential Insurance Company of America, et al.
        CIVIL CASE COVER SHEET                                                                      CASE NLOISElt
                                                        commix Case Designation
  ED Unlimited       =i Limited                        1:D Counter   ri Joinder                                     VCU302224
    (Amount            (Amount
     demanded                            Filed with first appearance by defendant JUDGE:
                        demanded is
     exceeds $25,000)                       (Cal. Rules of Court. rule 3.402)      DEPT.:
                        $25.000 or Iasi)
                          i-
                           tent
                             7 sv.‘bilow
                                --         mustbe completed(see Insitucdons on page 2).
   1. Check one box below for the case type that best describes this case:
      Auto Tort                                    Contract                                   Provisionally Complex Civil LIUgation
     CD Auto(22)                                   Ea] Broach of contract/warranty(06)       (Cal. Rules of Court, rules 3400-3403)
    • UnInswed motorist(46)                       =I      Rule 3.740 collections(09)         ri Antitrust/Trade regulation(03)
      Other PUPDNVEI(Personal Injury/Property      F-1 Other collections(09)                 =
                                                                                             I      Construction defect(10)
      Damage/Wrongful Death)Tort                                                             =    1 Mass tort(40)
                                                   CD Insurance coverage(18)
     CD Asbestos(04)                                                                         ED Securities litigation(28)
                                                   CZ] Other contract(97)
     ED Product liability(24)                                                                       Environmental/Rude tort(30)
                                                   Real Property
     ED Medical malpractice(45)                                                              ED Insurance coverage debts arising from the
                                                         Erninenttiornainfinverse                   above listed provisionally complex case
     ED Other PUP /VD(23)                                condemnation(14)
      Non-PUPDAND(Other)Tort                                                                        Niles (41)
                                                   ED Wrongful eviction (33)                  Enforcement of Judgment
     CD Business toNunfair business practice (07) ED Other real property(26)                        Enforcement ofjudgment(20)
     ED Civil rights coto                          Unlawful Detainer                          Miscellaneous Civil Complaint
     ED Defamation(13)                                   Commardat(31)                       =
                                                                                             I      RICO(27)
     ED Fraud(16)                                        ResidenUal(32)                      =I Other complaint(notspecified above)(42)
     ED Intellectual pmperty(19)                  ED Drugs(38)                                Miscellaneous Civil Petition
     CD Professional negligence(25)                Judicial Review
                                                         Asset forfeiture(05)                E3 Partnership and corporate governance(21)
     F-7 Other non-PIIPDAND tort(95)
     Employment                                   1=1 Petition re: arbitration award(11)               Other petition (nor &padded above)(43)
     Ezi Wrongfultermination(36)                         Writ of mandate(02)
    ED Other employment(16)                              Otherjudir.lel review(39) •
2. This case ED Is          M is not       complex under rule 3.400 ofthe California Rules of Court. If the case Is complex, mark the
    factors requiring exceptionaljudicial management
   a.(:=1 Large number ofseparately represented parties           d. C2 Large number of witnesses
   b. =I Extensive motion practice raising difficult or novel e. 1:= Coordination with related actions pending in one or more
             Issuesthat will be time-consuming to resolve                    courts In other COrmtles. states, or countries,or In a federal
   c. E:1 Substantial amount of documentary evidence                        court
                                                                  1. -I 1 Substantial postudgmentjudicial supervision
3. Remedies sought(check al/that app(y):a.[=1 monetary b.                nortmonetart; declaratory or injunctive relief c. 1:= punitive
4. Number of causes of action (speci6e):
6. Thls case          is   =)Is not        a doss action suit.
6. If there are any known related cases, file and serve a notice of related case You may use fo .CM-015.)
Date: September 26,2023
Rene'Turner Sample. Esq.
                      (TYPE°ARANY NAME)                                                    (813NA       0 PARTY 0                FOR PARTY)
                                                                      NOTICE
 • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (exceptsmall claims cases or cases filed
   under the Probate Code, Family Code,or Welfare and Institutions Code).(Cal. Rules of Court, rule 3220.)Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 - if this case is complex under rule 3.400 etseq. of the California Rules of Court, you must aerve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
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   Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 28 of 65



                   Alternative Dispute Resolution
                         Information Packet
 OvervieW & History
 Alternative Dispute Resolution(ADR)is an increasingly popular option that allows people to resolve
 disputes outside of court in a cooperative manner. ADR can be faster, cheaper, and less stressful than
 going to court. Most importantly, the use of ADR can provide greater satisfaction with the way disputes are
 resolved.

 ADR hasteen gradually evolving within the Fresno Superior Court for the past several years. In 1999 the
Court recognized a need for greater public access to dispute resolution for cases and established an ADR
Department. This department assists parties by providing information regarding ADR processes and
services.

Civil Standing Order Regarding ADR:

In 2006, a Case Management Conference(CMC)Standing Order 07-0628, was implemented
requiring parties in general civil cases filed in Fresno County Superior Court to participate in ADR
prior to triaL This order and supporting ADR forms can be found on the court's website,
www.fresno.courts,ca.gov under the "Forms,"section. Please note, participation in ADR does not
eliminate the need for proper and timely filing ofcase documents,such as an Answer to Complaint     :

Disputes

ADR               have been useitstiddessfully in a variety of disputes.involving individuals, small and large
  . techniques
       „
businesses, government,and the general public. Various types of ADR processes are available depending
on the nature of the dispute. Many types of conflict often lend themselves to an alternative and informal
method of dispute resolution. Some examples of disputes often settled by ADR include but are not limited
to:
    • Business disputes- contracts, partnerships
    • Property / Land use disputes- property transfers, boundaries, easements
    • Family disputes — divorce, property, custody, visitation, support issues
    • Consumer / Collection disputes- repairs, services, warranties, debts
    • Employment disputes- employment contracts, terminations
    • Landlord/tenant disputes- evictions, rent, repairs, security deposits
        Neighborhood disputes / Relational disputes or other civil or personal conflicts
   .• Personal Injury / Insurance disputes- accidents, coverage, liability

Processes:
The most common forms of ADR are Mediation, Arbitration, and Case Evaluation. In most ADR processes,
a trained, impartial person decides or helps the parties reach resolution of their dispute together. The
persons are neutrals who are normally chosen by the disputing parties or by the court. Neutrals can often
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 help parties resolve disputes without having to go to court or trial. Below is a description of commonly used
 processes:


 Mediation
In mediation, the mediator(a neutral) assists the parties in reaching a mutually acceptable resolution of
their dispute. Unlike lawsuits or some other types of ADR,the mediator does not decide how the dispute
will be resolved, the parties do. It is a cooperative process guided by the mediator to create an agreement
that addresses each person's interests. Mediation often leads to better communicatiOn between the parties
and lasting resolutions. It is particularly effective when parties have a continuing relationship, such as
neighbors or businesSes. It also is very effective where **Stinel feelings are getting in the way Ofa
resolution. Mediation normally gives the parties a chante.to.expreSs their concerns in a voluntary and
confidential process while working towards a resolution. The mediation process is commonly used for
most civil case types and can provide the greatest level of flexibility for parties.


Arbitration
In arbitration, the arbitrator(a neutral) reviews evidence, hears arguments, and makes a decision (award)
to resolve the dispute. This is very different from mediation whereby the mediator helps the parties reach
their own resolution. Arbitration is generally quicker, less expensive and less formal than:a lawsuit. An
arbitrator can often hear a case in a matter of hours rather than days in a trial. This is because the evidence
can be submitted by documents rather than by testimony.

    1. Binding Arbitration: Usually conducted by a private -arbitrator, this process takes place outside of
       the court. "Binding" means that the arbitrator's decision (award) is final and there will not be a trial
       or an opportunity to appeal the decision.

    2. Non-Binding Arbitration: May be ordered through the court(Judicial Arbitration) or conducted
       privately. In this process, the arbitrator's decision is "not binding." This means that if a party is not
       satisfied with the decision of the arbitrator, they can file a request for trial with the court Within a
       specified time. However,depending on the process if that party does not receive a more favorable
       result at trial, they may have to pay a penalty.


Case Evaluation
In case evalUation, the.evaluator(a neutral) Oives an opinion on the strengths and Weaknesses of each
party's evidence and argumentS. Each party gets a chance to present their case and hear the other Side.
This may lad'to settlement, or at the least, help the parties prepare to resolve the dispute later: Case
evaluation, like mediation, can come early in the dispute and save time and money.The case evaluation
process is most effective when parties have an unrealistic view of the dispute, need outside assistance in
determining case value, and have technical or procedural questions to be worked out. This process is
sometimes used in combination with mediation or arbitration.
    Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 30 of 65


 :AD—R.Agreements:
 Agreements reached through ADR are normally put into writing and can become binding contracts that are
 enforceable in court. Parties may choose to seek the adViceof an attorney as to your legal tig,h_ts.and other
 matters relating to the dispute before finalizing any agreement.

 ADR'Proce:ss:SelediOii & Information:-
 There are several other types of ADR. Some of these include Conciliation, Settlement Conference, Fact
 Finding, Mini-Trial, Victim Offender Conferencing, and Summary Jury Trial. Sometimes parties will try a
 combination of ADR types. The important thing is to find the type of ADR that is most likely to resolve the
 dispute. Contact the ADR department staff for assistance for additional information and referral to services
 appropriate for each specific case.

 Advantages & Disadvantages of ADR:

 Advantages
    • Often quicker than going to trial, a dispute may be resolved in a matter or days or weeks instead
      of months or years.
    • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
    • Permits more participation and empowerment, allowing the parties the opportunity to tell their

      side of the story and have more control over the outcome.
    • Allows for flexibility in choice of ADR processes and resolution of the dispute.
    • Fosters cooperation by allowing the parties to work together with the neutral to resolve the
      dispute and mutually agree to a remedy.
    • Often less stressful than litigation. Most people have reported a high degree of satisfaction with
      ADR.

 Because of these advantages, many parties choose ADR to resolve disputes instead of filing a lawsuit.
 Even after a lawsuit has been filed, the court can refer the dispute to a neutral before the lawsuit becomes
 costly. ADR is even used to resolve disputes after trial, when the result is appealed.


 Disadvantages
 • ADR may not be suitable for every dispute.
   If the ADR process is binding, the parties normally give up most court protections, including a decision
   by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
   appellate court.
,• ADR may not be effective if it takes place before the parties have sufficient information to resolve the
   dispute.
   The neutral may charge a fee for his or her services. If the dispute is not resolved through ADR,the
   parties may then have to face the usual and traditional costs, such as attorney's fees and expert fees.
   • Lawsuits must be brought within specified periods of time, known as Statutes of Limitations. Parties
        must be careful not to let a Statute of Limitation run while a dispute is in an ADR process
   Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 31 of 65


 Neutral Selection:
The selection of a neutral is an important decision. Please note that currently there is no legal requirement
that the neutral be licensed or hold any particular certificate. However, many programs and the Court have
established qualification requirements and standards of conduct for their neutral panels.



          Mediation Services Offered by Fresno County Superior Court
Mediation Practitioner Panel:

Fresno County Superior Court, Alternative Dispute Resolution (ADR)Department maintains a fee-for-
service Mediation Panel as a public service for court litigants and the community. Those listed have met
the Court's eligibility requirements and have agreed to abide by the Court's professional standards of
conduct in order to participate as a panel member. The panel list can be found on the Court's website
under the Alternative Dispute Resolution link,
Wvilw.fr6sno.courts!cagovialternative .disoute‘ resolution/Mediator


Free /Low Cost ADR-Service Options
For cases involving self-represented litigants or those unable to afford a private mediator, the court
contracts with the following organization to provide free or low cost mediation services through Dispute
Resolution Program Act(DRPA)funding.

    Better Business Bureau Mediation Center- This organization provides mediation for family
   law property disputes, small claims, landlord/tenant, business, consumer/ merchant,
   harassment, and neighborhood disputes. For more information about their services go to
   www.mediationservicesbvbbb.oru

   2600 W.Shaw Lane
   Fresno, CA 93711
   559.256.6300(phone)
   800.675.8118, ext. 300(toll free)



For more information, go to ww.fresno:courts.casiovialternative ..dispute resoluticin or
contact:
Mari Henson, Administrator                                Camille Valentine, Asst. Administrator
1130 "0" Street, Fresno, CA.93724                         1130."0" Street, Fresno. CA.93724
TEL(559)457-1908, FAX(559)457-1691                        TEL (559)457-1909, FAX(559)457-1691
mhensonAfresno.couits.ca.dOV                              cvalentihe@fresno.courts.ca.goy
            Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 32 of 65
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address):                 FOR COURT USE ONLY



 TELEPHONE NO:                                  FAX NO:
 ATTORNEY FOR (Name).4
           SUPERIOR COURT OF CALIFORNIA • COUNTY OF FRESNO
                          1130 "0" Street
                       Fresno, California 93724-0002
                        _    (559)457-1909
PLAINTIFF/PETITIONER:
 DEFENDANT/RESPONDENT:

  STIPULATION REGARDING ALTERNATIVE DISPUTE RESOLUTION(ADR)
                                                                                           CASE NUMBER:

The parties stipulate that they will engage in the following Alternative Dispute Resolution (ADR)process:

D Mediation        D Arbitration     El Neutral Case Evaluation      p Other
The parties further stipulate that                                       has been selected as the mediator/arbitrator/neutral.


Address:
City, State, Zip
Phone Number:       ( )

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Dispute Resolution(ADR)must be completed within loo days after the: _se Management Conference or prior to the
M andatory Settlethent COriference, WhipheVer'is ear(ip r,! unless glypri FinqrappYO,Val bythe tbuiftci: dcintin-lie.theAate.

Parties will be required to file an Alternative Dispute Resolution (AciFt) Status Report at least 10 court days prior to
the Mandatory Settlement Conference. Failure to do So May result in',sanctions at an Order to Show Cause(OSC)
hearing set by the court.


Date                                  Type or Print Name -                         Signature of Party or Attorney for Party


Date                                  Type or Print Name                           Signature of Party or Attorney for Party


Date                                  Type or Print Name                           Signature of Party or Attorney for Party


Date                                  Type or Print Name                           Signature of Patty or Attorney for Party


           Li Additional signatures on Stipulation Regarding Alternative Dispute Resolution (ADR)Attachment

TADR-01 R11-11 mandatory           STIPULATION REGARDING ALTERNATIVE DISPUTE RESOLUTION (ADR)
           Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 33 of 65
                                                                            FOR COURT USE ONLY
          SUPERIOR COURT OF CALIFORNIA • COUNTY OF FRESNO
                            1130"0" Street
                      Fresno, California 93724-0002
                            (559)457-1909

  CASE TITLE:




                STIPULATION REGARDING ALTERNATIVE DISPUTE                   CASE NUMBER:
                       RESOLUTION (ADR)ATTACHMENT




  Date                      Type or Print Name                       Signature of Party or Attorney for Party



  Date                      Type or Print Name                       Signature of Party or Attorney for Party



  Date                     Type or Print Name                        Signature of Party or Attorney for Party



 Date                      Type or Print Name                        Signature of Party or Attorney for Party



 Date                      Type or Print Name                        Signature of Party or Attorney for Party



. Date                     Type or Print Name                        Signature of Party or Attorney for Party



 Date                      Type or Print Name                        Signature of Party or Attorney for Party




 TADR-02 R11-11 mandatory STIPULATION REGARDING ALTERNATIVE DISPUTE RESOLUTION (ADR)ATTACHMENT Page 1 of 1
          Case 1:23-cv-01571-JLT-BAM Document       .    _ 1-1 Filed 11/07/23 Page 34 of 65
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address): FOR COURT USE ONLY



 TELEPHONE NO:                            FAX NO:
 ATTORNEY FOR (Wrist):
          SUPERIOR COURT OF CALIFORNIA • COUNTY OF FRESNO
                          1130 "0" Street
                       Fresno, California 93724-0002
                             (559)457-1909
 PLAINTIFF/PETITIONER:

 DEFENDANT/RESPONDENT:

                                                                                        CASE NUMBER:
         ALTERNATIVE DISPUTE RESOLUTION STATUS REPORT(ADR)


Type of Civil Case:
0Personal Injury — Property Damage/Auto           Personal Injury — Property Damage El Contract El Other
 Date Complaint Filed:.
 Amount in controversy:
   $0 to $25,000 El $25,000 to $50,000 0$50,000 to $100,000             0Over $100,000.00 (specify)
 Date of Alternative Dispute Resolution (ADR)Conference:,
 Name, address, and telephone number of person who conducted the Alternative Dispute Resolution (ADR)Conference!




 Case resolved by Alternative Dispute Resolution:

 El Yes (proper filing of a Notice of Settlement or Dismissal form is required by clerk's office)
 El No Reason:
 Alternative Dispute Resolution process concluded:
El Yes
:
1 1 No     Reason for delay:
           Next scheduled hearing date:

Type of resolution process used:
El Mediation El Arbitration 0 Neutral Case Evaluation         0Other (specify):
Case was resolved by:
O Direct Result of ADR Process 0Indirect Result of ADR Process           El Resolution was unrelated to ADR Process
If case went through ADR and resolved, estimate the closest dollar amount that was saved in attorney fees and/or expert
witness fees by participating in the process.
O $o 0$250 El $500 El $750 El $tow El More than $1,000(specify)
If case went through /NOR and did not resolve, estimate the closest dollar amount of additional costs incurred due to
participation in the AbFi. process.
0so El $250              $500 0$750 U $1,000 El More than $1,000 (specify)


TADR-03 R11-011 mandatory        ALTERNATIVE DISPUTE RESOLUTION STATUS REPORT(ADR)                                      Page 1 of
            Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 35 of 65
                                                                                       Case Number:

 Check the closest estimated number of court days you saved in motions, hearings, conferences, trials, etc. as a direct
 result of this case being referred to this dispute resolution process:

         El 0 Days                 El 1 Day                0 More than 1 day (specify)

  If the dispute resolution process caused an increase in court time for this case, please check the estimated number of
 additional court days:

         LI 0 Days                 El 1 Day               0 More than 1 day (specify)

 I would be willing to use the dispute resolution process again:

            Yes                    ElNo


 Please provide any additional comments below regarding your experience with the ADR process:




TAD R-03 R11-11 mandatory       ALTERNATIVE DISPUTE RESOLUTION STATUS REPORT(ADR)                            Page 2 of 2
 Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 36 CT  of 65
                                                                       Corporation
                                                    Service of Process Notification
                                                                                                                 10/05/2023
                                                                                                    CT Log Number 544870561


Service of Process Transmittal Summary

TO:     Florence Yee
        THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
        751 BROAD ST
        NEWARK, NJ 07102-3714

RE:     Process Served in California

FOR:    The Prudential Insurance Company of America (Domestic State: NJ)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                       VALERIE NEPINSKY vs. THE PRUDENTIAL INSURANCE

DOCUMENT(S) SERVED:                    Summons, Complaint, Cover Sheet, Attachment(s)

COURT/AGENCY:                          Tulare County - Superior Court, CA
                                       Case # VCU302224
NATURE OF ACTION:                      Insurance Litigation

PROCESS SERVED ON:                     C T Corporation System, GLENDALE, CA

DATE/METHOD OF SERVICE:                By Process Server on 10/05/2023 at 14:22

JURISDICTION SERVED:                   California

APPEARANCE OR ANSWER DUE:              Within 30 days

ATTORNEY(S)/SENDER(S):                 Rena Turner Sample
                                       FREEDMAN LAW
                                       3705 W. Beechwood Avenue
                                       Fresno, CA 93711
                                       559- 447-9000
ACTION ITEMS:                          CT has retained the current log, Retain Date: 10/06/2023, Expected Purge Date:
                                       10/11/2023

                                       Image SOP
                                       Email Notification, Legal Process Unit legal.process.unit@prudential.com

                                       Email Notification, Darbi Luzzi darbi.luzzi@prudential.com

                                       Email Notification, Lissette Diaz lissette.diaz@prudential.com

                                       Email Notification, Florence Yee Florence.Yee@Prudential.com

REGISTERED AGENT CONTACT:              Amanda Garcia
                                       330 N BRAND BLVD
                                       STE 700
                                       GLENDALE, CA 91203
                                       800-448-5350
                                       MajorAccountTeam1@wolterskluwer.com




                                                                                                                  Page 1 of 2
 Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 37 CT  of 65
                                                                       Corporation
                                                    Service of Process Notification
                                                                                                                 10/05/2023
                                                                                                    CT Log Number 544870561



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 2 of 2
             Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 38 of 65

                                                                             Wolters Kluwer

                             PROCESS SERVER DELIVERY DETAILS



Date:                                        Thu, Oct 5, 2023
Server Name:                                 DROP SERVICE




 Entity Served                 THE PRUDENTIAL INSURANCE COMPANY OF AMERICA

 Case Number                   VCU302224
 J urisdiction                 CA



                                               Inserts
                  Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 39 of 65
                                                                                                                                                    SUM.100
                                           SUMMONS                                                                       FOR CQuaruse ONLY
                                      PTAC1ON JUDICIAL)                                                               (SOLO PARA USO DE LA CORTE)

 NOTICE TO DEFENDANT: The Prudential Insurance Company of America, a
 (AVISO AL DEMANDADO): corporation;Pruco Life Insurance Company, a
 corporation; Plinio Life Insurance Company of New Jersey; business forth unknown;
 and DOES 1 through 20, Inclusive




  YOU ARE BEING SUED BY PLAINTIFF: Valerie Nepinsky
  (LO ESTA DEMANDANDO EL DEMANDANTE):




      NOTICE! You have been sued. The court may decide against you WithoUt your being heard 'unless yo U respond within 30 days. Read the inkirrriatiOn
      below. -
        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this Court and have a copy
     served on the plaintiff Afetter or phone call Will not protect you. Your written response Must be In proper legato-an if you want the court to hear your
     case There may beS court form that you can use (Cr your response.YOU can find these court forms and More information at the California Courts
     Online Self Help Center (www.Courfirtfo.ce;gOWSellhelp), your county law library, or      courthouse nearest you If you cannot pay the filing fee; ask
                                                                                                                                     . money, and property
     the court Clerk for a fee waiver form. If you do not file your response on time. you may tote the case by default, and your wages,
    ,may be taken without further warning from the court.
        There are other legal requirentents you may want to call an attorney right away. If you do not know an attorney, you may want to cell an attorney
     referral service lryou cannot afford an attorney, you may be eligiblefor.free legal services from a nonprofit legal services program. You can locate
     these nonprofit groups at the California Legal Services Web Site (www.lawhelpcardomiaorg),the California Courts Online SelPHolp Center
    (v.rww.courtinro.cagovisellhelp). or by Contacting your local court or county bar association. NOTE: The court has a statutory lien for Waived fees and
     costs on any settlement or arbitration award of S10,000 or more in a civil case. The court's lien must be paid before the court will dismlit the case.
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   -Pagerelgravamen de le cone antis de qua la code puede iteseChar el caSo.
    ffe name andaddress'of-the court is:. -                                                                CASE NUMBER:.
(El nombre y dire•ColOn de la code es):                                                                   (NC tiCaw): V C U302224
  Superior Court of California, County of Tulare
  221 S. Mooney Boulevard, Room 201
  Visalia.'California 93291                "
  Civil Division, Unlimited Jurisdiction
  The r*ne,address;and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nornbie Ia direCciOn y 'lathery de teleforlo del abogido"del deMandente, o del demandante que no (lane ebegado, es):
  Rene'Turner Sample, SEIN 1138046                                                                  (559)44779000'              .(559)447-9100
  FREEDMAN LAW,3705 W. Beechimod Avenue, Fresno, California 93711
 'Paul J. O'Rourke, Jr.., SON 143951
  LAW OFFICES OF PAUL j.012OURKE,JR.-, 8050 N. Palm Avenue,Suite 300, Fresno, California 93711
  DATE:           •     -• -                                                      Clerk;by- —                                                    , Deputy
(  Fe-Che) 09/2712023                    Stephanie Cameron                       ISecn3tario) •                                                    (Adjunto)
(Forproof ofservice ofthis summons, use Proof of Service of Summons(form POS-010).)
( Para prueba de entiega de esta citation use el formularie Proof of Service of Summons,(PO -010)),
                                          NOTICE TO THE PERSON SERVED: You are served
                                         1. El as an individual defendant.
                                        2. 1 1 as the person sued under the fictitious name of(specify):
                                                                    The Prudential Insurance Company of
                                       3. IX1 on behalf of(speci6,):
                                                                    America, a co oration
                                         under: Fri CCP 416.10(corporation)                 r   CCP 416.60(minor)
                                                E3 CCP 416.20(defunct corporation)                          r--1
                                                                                                CCP 416.70(conservatee)
                                                    n
                                                    CCP 416.40 (association or partnership) F-1 CCP 416.90(authorized person)
                                                    other(speCify):
                                      4. El by personal derive/on (date):                                                Pago 101
  Farm Adopted for hicusdotory Ur;o                                                                     • .T-eitrei           Code at Civit Procedure §§ 412.20.465
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Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 40 of 65
                                                         Assigned to Judicial Officer
                                                          John P Bianco

                                                         For All Purposes
          Rene Turner Sample, SBN 138046                                       ELECTRONICALLY FILED
          FREEDMAN LAW                                                          Supelibr to,urt oftelifornia,
          3705 W. Beechwood Avenue                                                   jgc*oty:of-Tulare
          Fresno, California 937)1                                                     09/27/2023
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     6, 8050 N. Palm Avenue, Suite 300
           Fresno, California 9371 1
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  9        Atto:    'sfórPTaintiff
           VALERIE NERINSKY
 10

 11                              SUPERIOR COURT .OF THE STATE OF CALIFORNIA
 I/                                      FOR THE COUNTY OF TULARE
 13

 14        VALERIE NEPINSKY,                                     Case No.      V OU302224
 15                       Plaintiff,                            'COMPLAINT FOR DAMAGES FOR
 16                                                                   1. .BREACH OF CONTRACT
                                                                     2. To,nlops BREACH OF THE
17        ,THE PRUDENTIAL INSURANCE                                  . IMPLIED COVENANT OF GOOD =
          COMPANY OF.AMERICA,a &AN-ration;                                FAITH AND FAIR DE
18 PR.C).00;!LIFE tiNsU,RAKE COMPANY,a                               3. INTENTIONAL      — -
          :eOffpcfratioThi.mkjgo:.4-IFEINs.uRANc                          MISREPRESENTATION
19         COMPANY.01 NEW JERSEY busincs$ form                       4. NEGLIGENT
           unknown; and DOES I through 20, inclusive,                    MISREPRESENTATION
20
                         Defendants.                             DEMAND FOR JURY TRIAL
21

7.7

23

24                 COMES NOW., plaintiff, VALERIE NEPINSKY, and hereby alleges in her Complaint for

25        Damages against Defendants as follows:

26                                                         PARTIES

27                 I.    Plaintiff, VALERIE NEP1NSKY ("Plaintiff"),. is and was, at all relevant times, an

28        individual who resides in Tulare County, California.
                                                         -
                                                         COMPLAINT
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                  2.      Defendant, THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, a
     2    corporation, has, at all relevant times, conducted the business of life insurance in Tulare County,
     3    California.
                  3.      Defendant, PRUCO LIFE INSURANCE COMPANY, a corporation, has, at all
  5       relevant times,conducted the business oflife insurance in Tulare County, California.
 6                4.     Defendant, PRUCO LIFE INSURANCE COMPANY OF NEW JERSEY, business
 7, form unknown, has, at all relevant times, conducted the business oflife insurance in Tulare County,

 8        California.
 9 -             5.      Defendants, THE PRUDENTIAL INSURANCE COMPANY OF AMERICA,
 to PRUCO LIFE INSURANCE COMPANY and PRUCO LIFE INSURANCE COMPANY OF NEW
 it JERSEY will hereafter collectively be referred to as"PRUDENTIAL".
 12              6.      Defendants DOES 1 through 20, are unknown, but are believed to be operating on
13       _behalfofor with the authority ofDefendants or are otherwise liable for the events alleged herein and
14 'Plaintiffs' damages alleged herein.

15               7.      Plaintiff is ignorant of the true names and capacities of defendants sued herein as
16       DOES 1 through 20, inclusive, and therefore sue these defendants by such fictitious names and
17       capacities. Plaintiffis informed and believes, and thereon alleges, that at all relevant times alleged in
18       this Complaint, each of the fictitiously named defendants are responsible in some manner for the
19       injuries and damages to Plaintiff. Plaintiff will seek leave to amend this Complaint when their names
20       and participation in the acts alleged herein have been ascertained.
21               8.     Plaintiff is informed and believes, and thereon alleges, that each of the defendants
22       named herein was the agent, servant, or employee of each of the remaining defendants, and at all
23       times mentioned herein, each was acting within the scope and authority of such agency or
24       employment and for the mutual benefit ofthe other defendants.
25                                                      VENUE
26              9.      Venue is proper in this Court because: Tulare County is where the subject life
27       insurance contract was entered into; Tulare County is where the contract is to be performed; and
28       Tulare County is where the obligation or liability arises.
                                                          - 2-

                                                     COMPLAINT
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                                FACTS COMMON TOLL CAUSES OF ACTION
     2           10.     Plaintiff's deceased husband, Brian Nepinsky, co-owned a business named FFL Inc.
     3("FFL")in Visalia, California, along with Chris Riddington.
  4              1 1.    FFL purchased PRUDENTIAL Life Insurance Policy No. L8154811 (the "Policy").
  5       When the Policy was issued,FFL was the owner ofthe Policy. Brian Nepinsky was the insured. Chris
  6       Riddington was the beneficiary.
  7              12.    In August of 2020, FFL was in the process of closing its business. Since FFL was
  8       closing its business, with the agreement ofFFL and Chris Riddington, Brian Nepinsky sent a proper
  9       notice of change of beneficiary form to PRUDENTIAL, naming Plaintiff as the beneficiary. The
 10      change of beneficiary form was returned to Brian Nepinsky on the grounds that the change of
 11•     beneficiary fonn was not signed. However, the change of beneficiary form did not have a signature
12       line. Plaintiff alleges that she should have been the beneficiary under the Policy in and after August
13       of2020.
14               13.    Consistent with the facts alleged in the preceding paragraph(that FFL,Mr.Riddington
15       and Mr. Nepinsky agreed that Plaintiffshould be the recipient ofany Policy benefits if Mr.Nepinsky
16       died), on July 26,2021, Chris Riddington assigned, in writing, to Plaintiff all rights and benefits he
17       had as beneficiary under the Policy. The assignment states: "I, Chris Riddington, hereby agree to
18       assign all rights and benefits I may have as beneficiary under the [P]rudential policy number
19       1.8154811 for owner FFL,Inc. and insured Brian Nepinsky to Valerie Nepinsky."The assignment is
20       dated July 26,2021,and is signed by Mr. Riddington,as Secretary and Treasurer ofFFL. As alleged
21       infra, PRUDENTIAL has known ofthis assignment since shortly after September 27,2021.
22              14.     According to PRUDENTIAL,FFL did not pay the Policy's $635.00 annual premium
23       due by the due date ofJuly 26,2020.
24              15.     Plaintiff is informed and believes, and on that basis alleges that, in violation of
25       California law,PRUDENTIAL did not provide notice to the named Policy owner, FFL,ofa missed
26       premium payment within 30 days ofthe missed July 26,2020,premium payment and did not provide
27       a notice ofpending lapse and termination ofpolicy to the named Policy owner,FFL,at least 30 days
28       prior to any purported Policy termination. Cal. Ins. Code §§ 10113.71(b)(1), (3), 10113.72(c);
                                                         3-

                                                    COMPLAINT
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     I McHugh v. Protective Life Ins. Co., 12 Cal. 5th 213,240(August 30,2021).
     2            16.    In addition, pursuant to California Insurance Code section 10113.71(a) ("Section
     3 10113.71(a)"),"[e]ach life insurance policy issued or delivered in this state shall contain a provision

  4 for a grace period of not less than 60 days from the premium due date. The 60-day grace period shall

  5 not run concurrently with the period of coverage. The provision shall provide that the policy shall

  6 remain in force during the grace period."

  7              17.     Based on Section 10113.71(a), regardless of when the Policy was issued (prior to or
  8 after Section 10113.71(a)taking effect on January 1, 2013)or what the stated grace period is in the

  9 Policy,the Policy is deemed,as a matter oflaw,to contain a grace period of60 days. McHugh,supra,

 10 12 Cal. 5th at 240. This means that, regardless of whether the annual premium was paid, indemnity

 11 is owed under the Policy if, as happened here, the insured dies within 60 days of July 26, 2020.

 12 McHugh,supra, 12 Cal.5th at 233("Ulfthe insured dies during the extended grace period, the insurer

 13 will be required to pay benefits for which it has not received a premium ... [although] the insurer

 14 would be entitled to deduct the unpaid premium payment from any life insurance benefits it pays

 15 out.").

16               18.    In addition, Insurance Code section 10113.72(a) and(b)require that an insurer notify
17 an individual life insurance policy applicant(subdivision a)and the policy owner(subdivision b)"of

18 the right to designate at least one person, in addition to the applicant [and policy owner], to receive

19 notice of a lapse or termination of a policy for nonpayment of premium." Insurance Code section

20 10113.72(c) provides that no "individual life policy shall lapse or be terminated for nonpayment of

21       premium unless the insurer, at least 30 days prior to the effective date of the lapse or termination,
22 gives notice to the policy owner and to the person or person designated pursuant to subdivision (a)."

23              19.     In this case, on information and belief; Plaintiff alleges that PRUDENTIAL violated
24 Insurance Code section 10113.72(a)and(b)by not notifying FFL at the inception ofthe Policy and/or

25 annually ofits ofits right to designate at least one other person,in addition to the applicant and policy

26 owner,to receive notice ofa lapse or termination ofa policy for nonpayment ofpremium. As alleged

27 on information and beliefsupra,PRUDENTIAL never sent a notice ofpending lapse and termination

28 of the Policy at least 30 days before any purported Policy lapse or termination. However, even if,
                                                 -4

                                                    COMPLAINT
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     I hypothetically, PRUDENTIAL did so, its violation of Insurance Code section 10113.72(a) and (b)
     2 would render such notice invalid and null and void.
     3         20.    PRUDENTIAL sent a September 3,2020,letter to FFL enclosing a bill for the $635.00
  4 annual premium. PRUDENTIAL's September 3, 2023, letter did not mention any missed payment,

  5 pending Policy lapse or that the Policy had terminated. PRUDENTIAL's September 3,2020, letter
  6 was sent during the mandatory 60-day grace period in which the Policy is required to remain in force.
  7            21.    On September 4,2020, Brian Nepinslcy tragically died in a plane crash that occunred
  8 that day.
  9            22.    On September 15,2020, Plaintiff sent a check for $635.00 to PRUDENTIAL,which
 10 was made payable to PRUDENTIAL. This check was sent to PRUDENTIAL while the Policy was
 ii still in force due to the mandatory 60-day grace period.
 12           23.    PRUDENTIAL subsequently cashed Plaintiff's September IS,2020,check.
 13           24,    By letter dated September 15, 2020, to FFL, PRUDENTIAL advised FFL that
 14 PRUDENTIAL had not yet received the $635.00 payment due by July 26,2020, but that the Policy
 15 could be reinstated with a payment received by September 26, 2020. However, as noted, on
16 information and belief, as required by the law,PRUDENTIAL never sent to FFL a notice ofpending
17 lapse and termination of policy at least 30 days before any purported termination of the Policy. In
18 addition, as ofthe date ofPRUDENTIAL's September 15, 2020,letter, the Policy remained in force
19 due to the legally required 60-day grace period. Therefore,PRUDENTIAL's letter falsely stated that
20 the Policy had terminated. The letter further stated that if payment had already been made,the letter
21 could be disregarded. As noted, the payment had already been made by Plaintiff by check dated
22 September 15,2020,and PRUDENTIAL cashed the check.
23            25.    On September 29,2020, PRUDENTIAL sent another letter to FFL stating that while
24 payment had not yet been received and although the Policy had lapsed, the Policy was eligible for
25 reinstatement Again, Plaintiff paid the annual premium due before the expiration of the mandatory
26 60-day grace period and,on information and belief, without PRUDENTIAL ever having sent to FFL
27 a notice ofpending lapse and termination ofpolicy at least 30 days prior to any purported termination
28 ofthe Policy.
                                                    - 5-
                                                COMPLAINT
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                  26.     In addition, under the McHugh case,supra, 12 Cal. 5th at 233,regardless of whether
     2    Plaintiffpaid the annual $635.00 premium,since Mr. Nepinsky died during the legally mandated 60-
     3    day grace period,PRUDENTIAL owed the $500,000 in indemnity benefits under the Policy.
     4            27.    PRUDENTIAL sent a letter dated October 24, 2020, to FFL, which enclosed a
     5    PRUDENTIAL check for $635.00. The letter stated that PRUDENTIAL could not accept the check
  6       because the Policy had lapsed. The PRUDENTIAL check was not cashed.
  7               28.    By letter dated September 27,2021, Rene Turner, counsel for Plaintiff, made a claim
 8        under the Policy on behalfofPlaintiff. Ms.Turner's letter discussed the factual history ofthe matter.
 9        Ms.Turner's letter also stated that the change of beneficiary request made in August of2020(from
 10       Mr.Riddington to Plaintiff), had been improperly rejected. Ms.Turner further provided a copy ofthe
 11       July 26,2021, written assignment of Mr. Riddington's rights and benefits, as a beneficiary under the
 12       Policy, to Plaintiff. Ms. Turner's letter asked for confirmation that the Policy was in full force when
13        Mr.Nepin,sky died. Ms.Turner's letter also stated:"I also hereby demand full payment ofthe policy."
14               29.     Ms. Turner's letter further stated:"In the event it is your position that the policy was
15       not in effect, please provide written documentation setting forth a basis for your denial and provide a
16       complete copy ofthe file regarding this policy,including but not limited to,a copy ofthe policy, the
17       application, all payment records and all correspondence regarding this policy."
18               30.    After having received Ms.Turner's September 27,2021,letter, given its duties under
19       the implied covenant of good faith and fair dealing and applicable California claims handling
20       regulations, PRUDENTIAL was required to "conduct and diligently pursue a thorough, fair and
21       objective investigation ...." Cal. Code Regs. Title 10,§ 2695.7(d). PRUDENTIAL failed to conduct
22       any meaningful investigation. PRUDENTIAL did not contact Ms. Turner.or Plaintiff. Based on
23       information and belief,PRUDENTIAL did not contact Mr. Riddington.
24              31.     An"insurer bears a common law obligation to assist the insured to recover bargained-
25       for policy benefits. ... This obligation is often described as a manifestation ofthe duty ofgood faith
26       and fair dealing, which arises from every contract as an implied covenant generating both a
27       contractual obligation and a duty in tort." City ofHollister v. Monterey Insurance Company, 165 Cal.
28       App.4th 455,490-491 (2008). Despite the foregoing duty owed by PRUDENTIAL,PRUDENTIAL
                                                           6

                                                     COMPLAINT
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     i made no effort to assist Plaintiffto recover benefits owed under the Policy.
     2           32.     Instead, by letter to Ms.Turner dated November 8,2021,and without having engaged
     3    in any meaningful investigation of the facts or controlling law, Kimberly King, Vice President of
  4       Operations for PRUDENTIAL,represented as follows:"Our records indicate that this policy lapsed
     5    on 8/26/2020 due to non-payment ofan annual premium that was due on 7/26/2020. The insured died
  6       on 9/4/2020 and the check from Valerie Nepinsky is dated 9/15/2020. A policy cannot be reinstated
  7       after the death ofthe insured." The letter claimed that the payment "submitted by Valerie Nepinsky
 8 was returned to the owner ofthe policy, FFL Inc., on 10-27-2020."
 9               33.    The November 8, 2021, letter sent by Kimberly King, Vice President of Operations
 10 for PRUDENTIAL, further represented: "Unfortunately, the letter dated 9/15/2020, advising the
 11      owner they were able to reinstate this policy, had already been mailed before the death ofthe insured
 2       was reported to Prudential. This policy had a 31 day grace period before it would lapse ifpayment is
13       received within that grace period and before the death ofthe insured as it is explained on the letter
14       dated 9/15/2020 which was addressed to the owner, FFL Inc."
15              34.     In the McHugh case, based on California Insurance Code section 10113.71(a), the
16       California Supreme Court held that "if the insured dies during the extended grace period [60 days
17       following the premium due date], the insurer will be required to pay'benefits for which it has not
la received a premium ... [although] the insurer would be entitled to deduct the unpaid premium
19       payment from any life insurance benefits it pays out." McHugh,supra, 12 Cal. 5th at 233
20              35.     The opinion in the McHugh case, supra, 12 Cal. 5th 213, was issued on August 30,
21       2021. As a Vice President OfOperations for a major life insurer conducting the business ofinsurance
22       in California,Ms.King and her employer,PRUDENTIAL,knew or should have known ofthe holding
23       in the McHugh case at and before the time that Ms. King sent her November 8, 2021, letter to Ms.
24       Turner. Therefore,the November 8,2021,letter sent to Plaintiff's counsel by PRUDENTIAL's Vice
25       President ofOperations intentionally or negligently misrepresented that the grace period was 31 days
26       rather than the legally mandated 60 days.
27              36.     Under California's claims handling regulations, when an insured makes a
28       communication "that reasonably suggests that a response is expected, every licensee, shall
                                                        -7

                                                     COMPLAINT
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     I immediately, but in no event more than fifteen days after receipt ofthat communication,furnish the
     2 claimant with a complete response based on the facts as the known by the licensee." Cal. Code Regs.

     3 Title 10, § 2695.5(b). Despite Ms. Turner's request to PRUDENTIAL contained in her September

     4 27, 2021, letter, PRUDENTIAL never sent Ms. Turner a complete copy of the file regarding the

     5 Policy,including but not limited to,a copy ofthe Policy, the application, all payment records and all

  6 correspondence regarding this Policy.

  7                                       FIRST CAUSE OF ACTION
  8                                            Breach ofContract
  9                   (By Plaintiff against all Defendants,including DOES 1 through 20)
 10            37.     Plaintiff hereby incorporates by reference paragraphs 1 through 36, above, as if set
 11    forth in full herein.
 12            38.     FFL and PRUDENTIAL entered into a contract oflife insurance(the Policy).
 13            39.     As relevant here,the material terms ofthe Policy were that: FFL was the owner ofthe
 14 Policy; Brian Nepinsky was the insured under the Policy; Chris Riddington was the beneficiary under

 15 the Policy; the Policy limits were $500,000.00; and upon the death of the insured, PRUDENTIAL

16 would pay the beneficiary $500,000.00.

17            40.     As alleged supra,in August of2020, prior to Mr. NepinsIcy's death, because FFL was
18 closing its business, Chris Riddington, a co-owner of FFL, along with Brian Nepinsky, no longer

19 needed to be named as a beneficiary. A proper change in beneficiary form wassent to PRUDENTIAL

20 changing the beneficiary from Chris Riddington to Plaintiff. The document was improperly returned

21     by PRUDENTIAL claiming it did not have a signature. However, the PRUDENTIAL change in
n beneficiary form did not have a signature line. As a result, Plaintiff should be considered the sole
23 beneficiary under the Policy as of August of2020.

24            41.     Alternatively,ifChris Riddington is deemed to be the sole beneficiary under the Policy
25 on the date that Mr. Nepinsky died,on July 26,2021,as alleged supra,Chris Riddington assigned,in

26 writing, all rights and benefits he may have as beneficiary under the Policy to Plaintiff. Mr.

27 Riddington did so because that was the intent ofFFL, Mr. Riddington and Mr. Nepinsky in August

28 of2020 to make Plaintiff the beneficiary under the Policy. Therefore, as Mr. Riddington's assignee,
                                                       s—
                                                  COMPLAINT
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     I Plaintiff stands in the shoes of Mr. Riddington as the beneficiary under the Policy and has the
     2 contractual right to receive all contractual benefits due under the Policy. As alleged supra,
     3    PRUDENTIAL has known ofthe assignment of rights since receiving Ms. Turner's September 27,
     4    2021,letter to PRUDENTIAL.
     5           42.      While the annual premium of$635.00 purportedly due by July 26,2020, was not paid
  6       by FFL on or before that date,as alleged supra,on information and belief,PRUDENTIAL never sent
 7        a notice of pending lapse to FFL at least 30 days prior to any Policy lapse as required by California
 8        law. Cal. Ins. Code § 10113.71(b)(1).
 9               43.     In addition, as alleged supra, pursuant to California Insurance Code section
 to 10113.71(a),regardless ofwhen the Policy wasissued or what the stated grace period is in the Policy,
 i r the Policy is deemed,as a matter oflaw,to contain a grace period of60 days pastthe missed premium
 12      due date ofJuly 26,2020. The statutory 60-day grace period requirement supersedes any conflicting
13       language contained in the Policy. That means the Policy was required to remain in force, regardless
14       of whether the annual $635.00 annual premium was paid,for 60 days after July 26,2020.
is              44.      In addition, as alleged supra,PRUDENTIAL sent a September 3,2020,letter to FFL.
16       That letter simply enclosed a bill for $635.00. The letter did not mention any missed payment or
17       policy lapse.
18              45.      On September 4,2020, Brian Nepinsky tragically died in a plane crash that occurred
19       that day.
20              46.      As alleged supra, Mr. Nepinsky's death occurred on September 4, 2020, which is
21       within the legally required 60-day grace period when the Policy remained in force regardless of
22       whether the Policy contained a 31-day grace period or whether the annual $635.00 premium was
23       paid. McHugh.supra, 12 Cal. 5th at 233("[I]fthe insured dies during the extended grace period,the
24       insurer will be required to pay benefits for which it has not received a premium ... [although] the
25       insurer would be entitled to deduct the unpaid premium payment from any life insurance benefits it
26       pays out.").
27              47.      Nevertheless, on September 15, 2020, Plaintiff sent a check for $635.00 to
28       PRUDENTIAL which was made payable to PRUDENTIAL.
                                                        -9-

                                                    COMPLAINT
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     I       48.     PRUDENTIAL subsequently cashed the check.
     2       49.     Plaintiff presented a claim to PRUDENTIAL via Ms. Turner's September 27,2021,
     3 letter to PRUDENTIAL.

             50.     Plaintiff and her assignor and FFL satisfied all conditions required under the Policy
  5 'and/or any such conditions allegedly complied with were waived by PRUDENTIAL and/or

  6 PRUDENTIAL is equitably estopped from raising such conditions.

             51.     On November 8,2021;PRUDENTIAL breached the Policy by not paying Plaintiffthe
  8 $500,000.00 limits ofthe Policy as demanded by Plaintiff.The breach occurred when PRUDENTIAL

  9 'refused to pay the benefits by its November 8, 2021, letter, not when PRUDENTIAL improperly

 10 terminated the Policy. Poe v. Northwestern Mutual Life Insurance Company,2023 WL 5251875, at ,

 1 1 * 4(C.D. Cal. August 14, 2023).

 12          52.     Since the insured, Mr. Nepinslcy, died within the legally mandated 60-day grace
 13 period, PRUDENTIAL owed the full $500,000 indemnity limits of the Policy minus the unpaid

 14 premium(which was in fact paid to PRUDENTIAL by Plaintiffon September 15,2020).

 15          53.     PRUDENTIAL's November 8,2021, breach of contract was a substantial factor in
16 causing Plaintiff's harm.

17          54.      As a result ofPRUDENTIAL'S breach ofthe Policy, Plaintiff has suffered damages,
18 ,including, but not limited to, loss of the $500,000 indemnity payment owed under the Policy, and

19 interest at the legal rate thereon, mental and emotional hann and other consequential and incidental

20 damages to be proven at trial.

21                                   :SECOND.CAUSEOF.ACTIOICI
22              Tortious Breach ofthe Implied Covenant of Good Faith and Fair Dealing
23                 (By Plaintiff against all Defendants,including DOES 1 through 20)
24          55.     Plaintiff hereby incorporates by reference paitigraphs 1 through 54, above, as if set
25 forth in full herein.

26          56.     As alleged in the preceding cause of action, as a result of its breach ofthe Policy on
27 November 8, 2021, PRUDENTIAL has withheld from Plaintiff; either as the beneficiary under the

28 Policy or as the assignee ofall the beneficiary's contractual rights and benefits under,the Policy, the
                                                   - 10-
                                               •COMPLAINT
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     1 $500,000 in indemnity benefits owed under the Policy.
     2           57.     PRUDENTIAL's withholding ofthe benefits owed under the Policy was unreasonable
     3    and without proper cause.
  4              58.     First, on infonnation and belief, Plaintiff alleges that PRUDENTIAL knew that it did
 5        not lawfully provide notice ofa pending Policy lapse and termination ofpolicy to FFL,the owner of
 6        the Policy, at least 30 days prior to any purported Policy termination.
 7               59.     Next, as alleged supra, even if the PRUDENTIAL Policy specifies a 31-day grace
 8        period (and PRUDENTIAL has refused Plaintiff's request for a copy ofthe Policy), PRUDENTIAL
 9        knew or should have known, particularly because the McHugh decision was issued at least two
 10       months prior to PRUDENTIAL's claim denial, that California law has mandated that every life
 1 1 insurance policy contain a 60-day grace period provision. Cal. Ins. Code § 10113.71(a); McHugh,
12       supra, 12 Cal.5th at 233("[I]fthe insured dies during the extended grace period, the insurer will be
13       required to pay benefits for which it has not received a premium ... [although] the insurer would be
14       entitled to deduct the unpaid premium payment from any life insurance benefits it pays out."). The
15       statutory 60-day grace period requirement supersedes any conflicting language contained in the
16 Policy.
17              60.     Prudential knew that Mr.Nepinsky's death occurred on September4,2020,which was
18, within the legally required 60-day grace period when the Policy was still in force regardless of
19       whether the Policy contained a 31-day grace period or whether the annual $635.00 premium was paid
20 (which it was ultimately timely paid).

21              61.     PRUDENTIAL also knew that on September 3, 2020, during the required 60-day
22       grace period, PRUDENTIAL sent a bill for the annual $635.00 premium owed by FFL and that
23       Plaintiffsubsequently paid said premium by check dated September 15, 2020.PRUDENTIAL also
24       knew that it cashed the September 15,2020,check for the $635.00 annual premium payment.
25              62.     Despite PRUDENTIAL's knowledge of the matters set forth above and as alleged
26       supra,in response to Plaintiff's counsel's September 27,2021,letter making a claim to Prudential on
27       behalfofPlaintiffand demanding that PRUDENTIAL pay the Policy limits,by letter dated November
28       8, 2021, and without conducting any meaningful investigation, and violation of the statutory law
                                                          11

                                                     COMPLAINT
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     i discussed,supra,and the McHugh case,PRUDENTIAL breached the Policy,in bad faith, by refusing
     2    to pay the full indemnity limits owed. PRUDENTIAL also refused, in violation of its duty of good
     3    faith and fair dealing and California claims handling regulations, to provide documents, upon the
  4       request of Plaintiff's counsel, which are relevant to Plaintiff's claim for Policy benefits and
     5    PRUDENIAL's refusal to provide Policy benefits(see paragraphs 29,36,supra).
 6               63.     PRUDENTIAL's November 8,2021, denial letter also misrepresented California law
  7       regarding the required grace period.PRUDENTIAL claimed that the Policy contained a 31-day grace
 8        period. Notwithstanding what grace-period language the PRUDENTIAL Policy may contain (and
 9        PRUDENTIAL refused Plaintiff's request for a copy ofthe Policy), PRUDENTIAL knew or should
 to have known,following the McHugh decision, that California law mandates that every life insurance
 1 1 policy contain a 60-day grace period provision. Cal. Ins. Code § 10113.71(a).
 12              64.     The decision in the McHugh case was issued over two years ago. Notwithstanding that
13       PRUDENTIAL must be well-acquainted with said decision by now,PRUDENTIAL never re-opened
14       and evaluated Plaintiffs claim to determine whether PRUDENTIAL improperly withheld policy
15       benefits because ofthe McHugh decision and the California statutes discussed supra.PRUDENTIAL
16       obviously decided, for selfish economic reasons, to be reactive, not proactive, by defending against
17       the few lawsuits that arise(most consumers and attorneys who are not insurance coverage counsel
18       are not familiar with the statutes mentioned in this Complaint and the McHugh case) rather than re-
19       opening claims and paying claims which should have previously been paid and which are still owed.
20              65.     PRUDENTIAL's unreasonable denial ofcoverage on November 8,2021,and its other
21       bad faith conduct as alleged herein, has caused substantial harm to Plaintiff. This harm includes, but
22       is not limited to, the $500,000 in indemnity limits due to Plaintiff and unreasonably withheld by
23       PRUDENTIAL, and interest at the legal rate thereon, mental and emotional distress, and other
24       economic damages,all in an amount to be proven at trial.
25              66.     As a further result ofPRUDENTIAL unreasonably withholding Policy benefits which
26       are due to Plaintiff; Plaintiff has had to retain attorneys to seek recovery ofsuch Policy benefits. As
27       a result, under the authority ofBrandt v. Superior Court,37 Cal. 3d 813(1985), Plaintiffis entitled
28       to recovery of her attorneys' fees incurred in seeking benefits unreasonably withheld by
                                                        - 12-

                                                     COMPLAINT
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     I PRUDENTIAL.
     2            67.     In addition, PRUDENTIAL's conduct as alleged herein has been oppressive,
     3    fraudulent, and malicious, and such conduct has been authorized and/or ratified by the officers
     4 (Kimberly King, Vice President of Operations), directors,or managing agent(Kimberly King, Vice

     5    President of Operations) of PRUDENTIAL, thereby entitling Plaintiff to the recovery of punitive
  6 ,damages against PRUDENTIAL.

     7                                       THIROCAUSE OF ACTION
  8                                   INTENTIONAL MISREPRESENTATION
  9                     (By Plaintiff against all Defendants,including DOES I through 20)
 10              68.     Plaintiff hereby incorporates by reference pailWaphs 1 through 67, above, as if set
 i t forth in full herein.
 12              69.     By letter dated November 8, 2021, Kimberly King, Vice President of Operations, of
 13      PRUDENTIAL, made the following representation to Plaintiff's counsel:"This policy had a 31 day
 14 grace period before it woulcilapse ifpayment is received within that grace period and before the death
15       ofthe insured as it is explained on the letter dated 9/15/2020 which was addressed to the owner,FFL
16 Inc."

17               70.     The foregoing representation was false, because even ifthe Policy contains a 31-day
18       grace-period and regardless of when the Policy was issued,the Policy is deemed,as a matter oflaw,
19       to contain a 60-day grace period and the Policy applies if the insured dies during the 60-day grace
20       period regardless of whether the overdue premium is paid. Cal. Ins. Code § 10113.71(a); McHugh,
21       supra, 12 Cal.5th at 233("[I]fthe insured dies during the extended grace period, the insurer will be
22       regitiTed to pay benefits for which it has not received a premium ....").
23              71.     Kimberly King, with the knowledge and authorization of PRUDENTIAL, and on
24       behalfofPRUDENTIAL,and within the course and scope ofher employment with PRUDENTIAL,
25       knew that the representation was false when she made it, or she made the representation recklessly
26       and without regard for its truth.
27              72.     1Cimbely King, with the knowledge and authorization of PRUDENTIAL, and on
28       behalfofPRUDENTIAL,and within the course and scope ofher employment with PRUDENTIAL,
                                                          13

                                                     COMPLAINT
Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 53 of 65




          intended that Plaintiffrely on the representation.
     2 •          73.     Plaintiffreasonably relied on the representation.
     3            74.     As a result, Plaintiff was harmed.
     4            75.     Plaintiffs reliance on said representation was a substantial factor in causing her hann.
     5    This harm includes, but is not limited to, the $500,000 in indemnity limits due to Plaintiff and
  6       unreasonably withheld by PRUDENTIAL,and interest at the legal rate thereon, mental and emotional
  7       distress, and other economic damages, all in an amount to be proven at trial.
  8              76.     In addition, PRUDENTIAL's conduct as alleged herein has been oppressive,
  9       fraudulent, and malicious, and such conduct has been authorized and/or ratified by the officers
 to (Kimberly King, Vice President ofOperations), directors, or managing agent(Kimberly King, Vice
 I I • President of Operations) of PRUDENTIAL, thereby entitling Plaintiff to the recovery of punitive
 12      damages against PRUDENTIAL.
 13,                                       #OURTH CAUSEOF ACTION
14                                    NEGLIGENT MISREPRESENTATION
15                      (By Plaintiff against all Defendants,including DOES 1 through 20)
16               77.     Plaintiff hereby incorporates by reference paragiaPhs I through 76, above, as if set
17       forth in full herein.
18               78.     By letter dated November 8, 2021, Kimberly King, Vice President of Operations, of
19       PRUDENTIAL,made the following representation to Plaintiffs counsel:"This policy had a 31 day
20       grace period before it would lapse ifpaymentis received within that grace period and before the death
21       ofthe insured as it is explained on the letter dated 9/15/2020 which was addressed to the owner,FFL
22       Inc."
23               79.    The foregoing representation was false, because even ifthe Policy contains a 31-day
24       grace-period and regardless of when the Policy was issued,the Policy is deemed,as a matter oflaw,
25       to contain a 60-day grace period and the Policy applies if the insured dies during the 60-day grace
26       period regardless of whether the overdue premium is paid. Cal Ins. Code § 10113.71(a); McHugh,
27       supra, 12 Cal. 5th at 233("[IN'the insured dies during the extended grace period, the insurer will be
28       required to pay benefits for which it has not received a premium ....").
                                                         - 14-

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                  80.    Kimberly King, with the knowledge and authorization of PRUDENTIAL. and on
           behalf of PRUDENTIAL,and within the course and scope of her employment with PRUDENTIAL,
      3 made such a representation. Although Ms. King may have honestly believed that the representation
      4 was true, she had no reasonable grounds for believing the representation was true when she made it.

      5          81.     Kimbely 'King, with the knowledge and authorization of PRUDENTIAL, and on

     6 behalf of PRUDENTIAL,and within the course and scope of her employment with PRUDENTIAL,
     7 intended that Plaintiff rely on the representation.

                 82.     Plaintiff reasonably relied on the representation.
   9             83.     As a result, Plaintiff was harmed.

                 84.    Plaintiffs reliance on said representation was a substantial factor in causing her harm.
  1I      This harm includes, but is not limited to, the $500,000 in indemnity limits due to Plaintiff and
 12 unreasonably withheld by PRUDENTIAL,and interest at the legal. rate thereon, mental and emotional

 13 distress, and other economic damages, all in an amount to be proven at trial.
 )4                                           ,PRAYER FOR RELIEF
 15              WHEREFORE, Plaintiff prays for judgment against all Defendants as follows:
 16;             I.     For all compensatory damages suffered and sustained by Plaintiffs on the first, second,
 17. third and fourth causes of action, including economic damages, mental and emotional distress, and
 IS; Brandi attorney's fees, all in an amount to be proven at trial;

 191            2.      For punitive damages pursuant to the Second and third causes of action;
 -)0            3.      For prejudgment interest on the economic damages;
11              4.      For all awardable court costs; and
                5.      For such other and .further relief in law or in equity as the Court deems just and proper.
13                                                                FREEDMAN LAW
14
25

.26       Dated: September 26, 2023                        By:4
                                                             Retie Turner Kittlpl . Esq.'
27                                                           AtiorheyS
                                                             VALERIENEPINKY
28
                                                         - Is —

                                                     COMPLAINT
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                                                               LAW OFFICES OF PAUL J. O'ROURKE,JR.
     7


     3


     4   Dated: September 26, 2023
                                                              Paul J. O'Rourke, 4r, Esq.
                                                              Attorneys fOriPlaintiff
                                                              VALE igNgpmisKy-

                                         DockNto TbR_JURY,TRIAL,
  8             Plaintiff, VALERIE NEPINSKY, hereby demands a trial by jury in the above-entitled matter..

  9                                                           FREEDMAN LAW
 10

 11

 11      Dated: September 26, 2023                     By:
                                                          ReneFiirner$a..pie1 Esq.
 13                                                      ,Attoriley.S:far,.;Pl inti
 14

 15                                                           LAW OFFICES OF PAUL J. O'ROURKE,JR.
16

1 7'

18: Dated: September 26, 2023                                                                  •
                                                                    OIROurke,Jr, Esq
19                                                            Attorneys for,Plaintiff
                                                              VALERIE NEPINSKY
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                                                 COMPLAINT
            Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page
  ATTORNEY OR PARTY MOUTATTORNEY(Mum SING Beramber,andaft*                 56USE
                                                                    -FOR COURT ofONLY
                                                                                  65
  Rena Turner Sample,SBN 138046                 Paul J. O'Rourke, Jr., SBN 143951
  FREEDMAN LAW                                  LAW OFFICES OF PAUL J. OROUKE,JR.
  3705 W.Beechwood Avenue,Fresno,CA 93711      8050 N.Palm Avenue,Ste.300,Fresno,CA 93711
         ilarsmorre sox.(559)447-9000            PAX WO.ropywitz (559)447-9100'                       ELECTRONICALLY FILED
         SIMIADDRESS: eServicenfreedmaniew.corn; paul@plorlaw.cin                                     Superior Court of California,
  . ATTORNEY FOR PM*:Plaintiff, Valerie Nepinsky                                                           County of Tulare
                                                                                                                  09127/2023
  SUPERIOR COURT OF CAUFORMA, COUNTY OF TULARE
   STREETADDRESIC 221 S. Mooney Boulevard, Room 201
                                                                                                                Sy: Sevanah Trevino.
  MALMO ADORES&                                                                                                      Deputy Clerk
  Clyymo ZIP cope Visalia, California 93291
     BRANCH NAME CM)DivisIcin, Unlimited Jurisdiction
  CASE NAME
   NEPiNSKY. Va/arle v. The Prudential Insurance Company of America, at at.
       CIVIL CASE COVER SHEET                                                                        CASE NUYSElt
                                                            Complex Case Designation
[3:3 Unlimited              1= Limited                   =1 Counter              1--1   Joinder                    VCU302224
       (Amount                    (Amount          •
        demanded                                        Flied with first appearance by defendant Juooe
                                   demanded is
                                                           (Cal. Rules ofCourt, rule 3.402)           DEPT.:
       exceeds $25.900)           $25,000 or less)
                                   )  (erns 16 below must be completed(see Instm nson page 2).
  1. Check one box below for the case type that best describes this case:
     Auto Tort                                        Contract                                   Provisionally Complex Civil litigation
    r—I    Auto (22)                                  1
                                                      =   I   Breach  of contractMarranty(06)   (  Cal. Rules of Court, rules 3.400-3.403)
    ED Uninsured motorist(46)                        =1       Rule 3.740 collections(09)        =1       Antftrustifrade regulation(03)
     OtherPUPDAND(Personal InjurylProperty [            =]Other coliectiona(09)                 ED       Construction defect(10)
     DamagenNrongful Death)Tort                                                                 =1       Mass  tort(40)
                                                      ED insurance coverage(18)
    :
    1 =1 Asbestos(04)                                                                           =
                                                                                                1        Securities litigation(28)
                                                   [—I Other contract(37)
    ED Product liability(24)                          Real Property                             =
                                                                                                1        Environmental/Texts    tort(30)
    ED Medical malpractice(45)                                                                           insurance coverage dates arising from the
                                                     CD EminentdomainlInverse                            above listed provisionally complex case
    ED OtherPVPD/WD(23)                                      iindenutetion(14)                           types(41)
     Non-PUPONVD(Other)Tort                           C=1 Wrongful eviction (33)                 Enforcement of Judgment
    =
    1      Business tort/unto& business practice(07) ED Other real property(26)                 = Enforcementofjudgment(20)
                                                                                                (
    CD CM!rights PO                                   Unlawful Detainer                          Miscellaneous Chill Complaint
    ED Defamation(13)                                =
                                                     1        Commercial(31)                    (
                                                                                                = RICO(27)
    ED Fraud (16)                                    1=1 Residential(32)                        =
                                                                                                1        Other complaint(not specified above)(42)
   =1     Intellectual property(19)                  71 011195(38)                               Miscellaneous Chill Petition
          Professional negligence(25)                 Judicial Review
                                                     =
                                                     1       Asset forfeiture(05)               ri Partnership and corporate governance (21)
    CD Other non-PI/ADAM,tort(35)
    Employment                                      =I Petition to;arbitration award(11) =      1        Other petition(notspecified above)(43)
   1=I Wrongfultermination(36)                 = Wilt of mandate(02)
   1-7 Other employment(15)                     =
                                                1      Otheriudicial review(39) •
2. Thls case ED Is I= is not complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark the
     factorsrequiring exceptionalJudicial management
    a.=Large number ofseparately represented parties               d.        Large number of witnesses
    b. =I Extensive motion practice raising difficult or novel e. CD Coordination with related actions pending in one or more
             Issues that will be time-consuming to resolve                   courts in other counties, states. or countries,or In a federal
    c. cp Substantial amountof documentary evidence                          court
                                                                 .=1         Substantial postjudgment judicial supervision
3. Remedies sought(check all that app4):a.ED monetary b. DIU nonmonetary; declaratory or Injunctive relief c. j=I punitive
4. Number of causes of action (speci&):
5. This case E3 is =I is not a class action suit.
6. If there are any known related cases,file and serve a notice of related cue ou may use to ,CM-015.)
Date: September 26,2023
Rene'Turner Sample,Esq.
                        (TYPE OR PRINT NAME)                                                            OFPARTY0                 FORPARTY,
                                                                    NOTICE
• Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
  under the Probate Code, Family Code.or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.)Failure to fits may result
  In sanctions.
• File this cover sheet In addition to any cover sheet required by local court rule.
• If this case Is complex under rule 3.400 atseq. of the California Rules of Court, you must serve a copy of this cover sheet on all
  other parties to the action or proceeding.
• Unless this Is a collections case under rule 3.740 or a complex case,this cover sheet will be used for statistical purposes only.
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Farm Asipted attautabary Use                                                                             CL Ruin d Catak MaaIX 3220 3.403-3.403.0740
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Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 57 of 65
   Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 58 of 65



                  Alternative Dispute Resolution
                        Information Packet
 Overview & History
Alternative Dispute Resolution (ADR)is an increasingly popular option that allows people to resolve
disputes outside of court in a cooperative manner. ADR can be faster, cheaper, and less stressful than
going to court. Most importantly, the use of ADR can provide greater satisfaction with the way disputes are
resolved.

 APR has been gradually evolving,within the Fresno.Superior Cotirt for the 00 several years. In 1999 the
Court recognized a need for greater public access to dispute:resolution for cases and established an ADR
Department. This department assists parties by providing information regarding ADR processes and
services.

Civil Standing Order Regarding ADR:
In 2006, a Case Management Conference(CMC)Standing Order 07-0628, was implemented
requiring parties in general civil cases filed in Fresno County Superior Court to participate in ADR
prior to trial. This order and supporting ADR forms can be found on the court's website,
www.fresno.courts.ca.gov under the "Forms,"section. Please note, participation in ADR does not
eliminate the need for proper and timely filing ofcase documents, such as an Answer to Complaint

Disputes
ADR techniques have been used successfully in a variety Of disputes involving individuals, small and large
businesses, government, and the general public Various types of ADR processes are available depending
On the nature of the dispute.'Many types of conflict often lend themselves to an alternative and informal
method of dispute resolution. Some examples of disputes often settled by ADR include but are not limited
to:
    • Business disputes- contracts, partnerships
    • Property / Land use disputes- property transfers, boundaries, easements
    • Family disputes — divorce, property, custody, visitation, support issues
    • Consumer / Collection disputes- repairs, services, warranties, debts
    • Employment disputes- employment contracts, terminations
    • Landlord/tenant disputes- evictions, rent, repairs, security deposits
    •
   • Neighborhood disputes / Relational disputes or other civil or personal conflicts
   • Personal Injury / Insurance disputes- accidents, coverage, liability

Processes:
The most common forms of ADR are Mediation, Arbitration, and Case Evaluation. In most ADR processes,
a trained, impartial person decides or helps the parties reach resolution of their dispute together. The
persons are neutrals who are normally chosen by the disputing parties or by the court. Neutrals can often
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 help parties resolve disputes without having to go to court or trial. Below is a description of commonly used
 processes:.


 Mediation
 In mediation, the mediator(a neutral) assists the parties in reaching a mutually acceptable resolution of
 their dispute. Unlike lawsuits or some other types of ADR,the mediator does not decide how the dispute
 will be resolved, the parties do. It is a cooperative process guided by the mediator to create an agreement
 that addresses each person's interests. Mediation often leads to better communication between the parties
 and lasting resolutions. It is particularly effective when parties have a continuing relationship, such as
 neighbors or btisinesses, It also is very effective where personal feeling's are got in the way of a
 resolution. Mediation normally gives theoe* a chance to express their concerns in a voluntary and
 confidential process while working toweds a resolution. The mediation process is commonly used for
 most civil case types and can provide the greatest level of flexibility for parties.


Arbitration
In arbitration, the arbitrator(a neutral) reviews evidence, hears arguments, and makes a decision (award)
to resolve the dispute. This is very different from mediation whereby the mediator helps the parties reach
their own resolution. Arbitration is generally quicker, less expensive and less formal than a lawsuit An
arbitrator can often hear a case in a matter of hours rather than days in a trial. This is because the evidence
can be submitted by documents rather than by testimony.

     1. Binding Arbitration: Usually conducted by a private erbitrator, this process takes place outside of
        the court. "Binding" means that the arbitrator's decision (award) is final and there will not be a trial
        or an opportunity to appeal the decision.

    2. Non-Binding Arbitration: May be ordered through the court (Judicial,Arbitration) or OOriduCted
       privately. In this process, the arbitrator's decision is "not binding." This means that if a party is not
       satisfied with the OpOisiOn,-pf the:arbitrator, they can file a request for trial with the court within a
       specified time. However, depending on the process if that party does not *dye a more favorable
       result at trial, they may have to pay a penalty.


Case Evaluation
In case evaluation, theevaluator(a neutral) gives an opinion on the strengths and weaknesses of each
party's evidence and arguments Ea_dtf:paq Ot_:s'a chance to present their case and hear the other.side
This rney lead to egettlement or at the least help the parties prepare to resolve the dispute later. Case
evaluation, like mediation, can come early in the dispute and save time and money. The case evaluation
process is most effective when parties have an unrealistic view of the dispute, need outside assistance in
determining case value, and have technical or procedural questions to be worked out. This process is
sometimes used in combination with mediation or arbitration.
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 ADRAreeme:nts:.
 Agreements reached through ADR are normally put into Writing and can become binding Oritf,aCts that are
 enforceable in court. Parties may choose to seek the advice of an attorney as to your legaliv.* and other
 matters relating to the dispute before finalizing any agreement.

 ADRProcess Seledidn
 There are several other types of ADR. Some of these include Conciliation, Settlement Conference, Fact
 Finding, Mini-Trial, Victim Offender Conferencing, and Summary Jury Trial. Sometimes parties will try a
 combination of ADR types. The important thing is to find the type of    that most likely to resolve the
 dispute. Contact the ADR department staff for assistance for 04046001 information and referral to services
 appropriate for each specific case.

 AdVantages & Disadifantages of ADR:

 Advantages
    • Often quicker than going to trial, a dispute may be resolved in a matter or days or weeks instead
       of months or years.
    ik Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
    • Permits more participation and empowerment, allowing the parties the opportunity to tell their
       side of the story and have more control over the outcome.
    • Allows for flexibility in choice of ADR processes and resolution of the dispute.
    • Fosters cooperation by allowing the parties to work together with the neutral to resolve the
       dispute and mutually agree to a remedy.
    o Often less stressful than litigation. Most people have reported a high degree of satisfaction with
       ADR.

Because of these advantages, many parties choose ADR to resolve disputes instead of filing a lawsuit.
Even after a lawsuit has been filed, the court can refer the dispute to a neutral before the lawsuit becomes
costly. ADR is even used to resolve disputes after trial, when the result is appealed.


Disadvantages
• ADR may not be suitable for every dispute.
• If the ADR process is binding, the parties normally give up most court protections, including a decision
  by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
  appellate court.
• ADR may not be effective if it takes place before the parties have sufficient information to resolve the
  dispute.
  The neutral may charge a fee for his or her services. If the dispute is not resolved through ADR,the
  parties may then have to face the usual and traditional costs, such as attorney's fees and expert fees.
  • Lawsuits must be brought within specified periods of time, known as Statutes of Limitations. Parties
       must be careful not to let a Statute of Limitation run while a dispute is in an ADR process
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 Neutral Selection:

 The selection of a neutral is an important decision. Please note that currently there is no legal requirement
 that the neutral be licensed or hold any particular certificate. However, many programs and the Court have
 established qualification requirements and standards of conduct for their neutral panels.



           Mediation Services Offered by Fresno County Superior Court
 Mediation, PtadtitioneiPanel!.

 Fresno County Superior Court, Alternative Dispute Resolution (ADR)Department maintains a fee-for-
 service Mediation Panel as a public service for court litigants and the community. Those listed have met
 the Court's eligibility requirements and have agreed to abide by the Court's professional standards of
 conduct in order to participate as a panel member. The panel list can be found on the Court's website
 under the Alternative Dispute Resolution link,
:wWmfresno.courts,.ca.govialternative diput . reSollition/Mediator.


 Free / Low Cost ADR Service Options
For cases involving self-represented litigants or those unable to afford a private mediator, the court
contracts with the following organization to provide free or low cost mediation services through Dispute
Resolution Program Act(DRPA)funding.

     Better BUsiness,BileaUhiectiation tenter- This organization provides mediation for family
    law property disputes, small claims, landlord/tenant, business, consumer/ merchant,
    harassment, and neighborhood disputes. For more information about their services go to
    wwwmediationservicesbibbb.org
                              _
    2600 W. Shaw Lane
    Fresno, CA 93711
    559.256.6300(phone)
    800.675.8118, ext. 300(toll free)



For more information, go to www:fresno.courts.ca.gov/alterhative di§Oute .resolution or
contact:
                                               •
Mad Henson, Administrator                                 Camille Valentine, Asst. Administrator
1130 "0" Street, Fresno, CA.93724                         1130"0" Street, Fresno, CA.93724
TEL(559)457-1908, FAX (559)457-1691                       TEL (559)457-1909, FAX (559)457-1691
mhensonRfrettio:adurtS.agtiv                              tvalentineAfresno.courth.d.ciov
            Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 62 of 65
 ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, state bar number, and address):               FOR COURT USE ONLY




 TELEPHONE NO:                           FAX NO:
 ATTORNEir FOR (Name):
         SUPERIOR COURT OF CALIFORNIA • COUNTY OF FRESNO
                         1130 "0" Street
                       Fresno, California 93724-0002
                            (559)457-1909
 PLAINTIFF/PETITIONER:

 DEFENDANT/RESPONDENT:

                                                                                        CASE NUMBER:
   STIPULATION REGARDING ALTERNATIVE DISPUTE RESOLUTION (ADR)


The parties stipulate that they will engage in the following Alternative Dispute Resolution (ADR) process:

El Mediation       ID Arbitration     El Neutral Case Evaluation   fl Other

The parties further stipulate that                                    has been selected as the mediator/arbitrator/neutral.


Address:

City, State, Zip

Phone Number:       ( )

The parties acknowledge that they shall engage in some term of Alternative Dispute ReeolutiOn(ADR). The Alternative
Dispute Resolution (ADR)Must be completed within 180 days after the Case Management Conference or prior to the
Mandatory Settlement COnference, whichever is earlier unless given prior approval by the &wet to continue the date.

Parties will be required to file an Alternative Dispute Resolution(ADR)Status.Report at least 10 court days prior to
the Mandatory Settlement Conference. Failure to do so May resultin .sanctions at an Order to Show Cause(OSC)
hearing set by the court.


Date                                   Type or Print Name                       Signature of Party or Attorney for Party


Date                                   Type or Print Name                       Signature of Party or Attorney for Party


Date                                   Type or Print Name                      Signature Of Party or Attorney for Party


Date                                   Type or Print Name                      Signature of Party or Attorney for Party


           O Additional signatures on Stipulation Regarding Alternative Dispute Resolution (ADR)Attachment



TADR-01 R11-11 mandatory            STIPULATION REGARDING ALTERNATIVE DISPUTE RESOLUTION (ADR)
          Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 63 of 65
                                                                           FOR COURT USE ONLY
         SUPERIOR COURT OF CALIFORNIA • COUNTY OF FRESNO
                           1130 "0" Street
                     Fresno, California 937240002
                           (559)457-1909

 CASE TITLE:




               STIPULATION REGARDING ALTERNATIVE DISPUTE                   CASE NUMBER:
                      RESOLUTION (ADR)ATTACHMENT




 Date                      Type or Print Name                       Signature of Party or Attorney for Party



 Date                     Type or Print Name                        Signature of Party or Attorney for Party



- Date                    Type or Print Name                        Signature of Party or Attorney for Party



 Date                     Type or Print Name                        Signature of Party or Attorney for Party



Date                      Type or Print Name                        Signature of Party or Attorney for Party



Date                      Type or Print Name                        Signature of Party or Attorney for Party



Date                      Type or Print Name                        Signature of Party or Attorney for Party




TADR-02 R11-11 mandatory STIPULATION REGARDING ALTERNATIVE DISPUTE RESOLUTION (ADR)ATTACHMENT Page 1 of 1
            Case 1:23-cv-01571-JLT-BAM Document 1-1 Filed 11/07/23 Page 64 of 65
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address):             FOR COURT USE ONLY




 TELEPHONE                                     FAX NO:
 ATTORNEY FOR (Naiffe):
          SUPERIOR COURT OF CALIFORNIA • COUNTY OF FRESNO
                          1130 "0" Street
                       Fresno, California 93724-0002
                             (559)457-1909
 PLAINTIFF/PETITIONER:

 DEFENDANT/RESPONDENT.:

                                                                                       CASE NUMBER:
         ALTERNATIVE DISPUTE RESOLUTION STATUS REPORT(ADR)


Type of Civil Case:
0Personal Injury — Property Damage/Auto 0Personal Injury — Property Damage 0Contract 0Other

 Date Complaint Filed:

Amount in controversy:
0$0 to $25,000 0$25,000 to $50,000 0$50,000 to $100,000 0Over $100,000.00(specify)

 Date of Alternative Dispute Resolution (ADR)Conference*.
 Name, address, and telephone number of person who conducted the Alternative Dispute Resolution (ADR)Conference:




 Case resolved by Alternative Dispute Resolution:

0Yes (proper filing of a Notice of Settlement or Dismissal form is required by clerk's office)

0No        Reason:

 Alternative Dispute Resolution process concluded:

0Yes
0 No       Reason for delay:
           Next scheduled hearing date't

Type of resolution process used:
0 Mediation 0Arbitration 0 Neutral Case Evaluation 0Other (specify):

Case was resolved by:
LI Direct Result of ADR Process 0Indirect Result of ADR Process 0 Resolution was unrelated to ADR Process
If case went through ADR and resolved, estimate the closest dollar amount that was saved in attorney fees and/or expert
witness fees by participating in the process.
El $0 0$250 0$500 0$750 0$1,000 0 More than $1,000 (specify)
If case went through ADR and did not resolve, estimate the closest dollar amount of additional costs incurred due to
participation in the.ADR process.
0$0 0$250 .          0$500 0$750 LI $1,000 0 More than $1,000 (specify)


TADR-03 R11-011 mandatory        ALTERNATIVE DISPUTE RESOLUTION STATUS REPORT(ADR)                                     Page 1 of
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                                                                                       Case Number:

 Check the closest estimated number of court days you saved in motions, hearings, conferences, trials, etc. as a direct
 result of this case being referred to this dispute resolution process:

            0 Days                 El 1 Day                El More than 1 day (specify).
  If the dispute resolution process caused an increase in court time for this case, please check the estimated number of
 additional court days:

         El 0 Days                 01 Day                  El More than 1 day (specify)

 I would be willing to use the dispute resolution process again:

         Elves                         No


Please provide any additional comments below regarding your experience with the ADR process:




TADR-03 R11-11 mandatory        ALTERNATIVE DISPUTE RESOLUTION STATUS REPORT(ADR)                            Page 2 of 2
